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                   EXHIBIT C
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 1   Robert A. Mandel, SBN 022936
     Taylor C. Young, SBN 020743
 2   Peter A. Silverman, SBN 020679
 3   MANDEL YOUNG PLC
     3001 E. Camelback Rd., Ste. 140
 4   Phoenix, Arizona 85016
 5   Tel (602) 424-8480
     Fax (602) 734-5431
 6   taylor@mandelyoung.com
 7   rob@mandelyoung.com
     peter@mandelyoung.com
 8   courtorders@mandelyoung.com
 9   Attorneys for Plaintiffs
10                        IN THE UNITED STATES DISTRICT COURT
11                             FOR THE DISTRICT OF ARIZONA
12
     John J. Hurry and Justine Hurry, as husband Case No. CV-14-02490-PHX-ROS
13   and wife; Investment Services Corporation,
14   an Arizona corporation; Hurry Family
     Revocable Trust d/t/d October 18, 2011
15   amended November 26, 2012, a Nevada
16   trust; Investment Services Partners LLC, an    SECOND AMENDED COMPLAINT
     Arizona limited liability company;
17   Scottsdale Capital Advisors Partners LLC an
18   Arizona limited liability company; SCAP I
     LLC, an Arizona limited liability company;
19   SCAP II LLC, an Arizona limited liability
20   company; SCAP III LLC, an Arizona
     limited liability company; SCAP 4 LLC, an JURY TRIAL DEMANDED
21   Arizona limited liability company; SCAP 6
22   LLC, a Nevada limited liability company;
     SCAP 7 LLC, a Nevada limited liability
23   company; SCAP 8 LLC, an Arizona limited
24   liability company; SCAP 9 LLC, a Nevada
     limited liability company; SCAP 10 LLC, a
25   Nevada limited liability company; BRICFM
26   LLC d/b/a Corner of Paradise Ice Cream
     Store, a California limited liability company;
27   CJ3 LLC, a Montana limited liability
28   company; Association of Securities Dealers
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 1    LLC, a Delaware limited liability company;
      SCAP 5 LLC, an Arizona limited liability
 2
      company; Investment Services Capital LLC,
 3    a Nevada limited liability company;
      Investment Services Holdings Corp., a
 4
      Nevada corporation; NEWCONMGT LLC,
 5    a Nevada limited liability company; ISC
      LLC, an Alaska limited liability company;
 6    ISHC LLC, a Montana limited liability
 7    company; NEWMGT LLC, a Nevada
      limited liability company; SCAINTL LLC, a
 8    Nevada limited liability company; FLJH
 9    LLC, a Nevada limited liability company;
      ASD Holding Company LLC, a Delaware
10    limited liability company; Hurry
11    Foundation, a Nevada non-profit 501(c)(3)
      organization.
12
13                                     Plaintiffs,
      v.
14
15    Financial Industry Regulatory Authority,
      Inc., a Delaware corporation, Scott M.
16    Andersen, a natural person, John and/or Jane
17    Does 1-10.
18                                    Defendants.
19
20
21                                   NATURE OF THE ACTION
22
           1.     This action stems from deliberate, retaliatory, and extra-regulatory conduct by the
23
24   Financial Industry Regulatory Authority, Inc. (“FINRA”), a self-regulatory organization (“SRO”)

25   acting under authority of the U.S. Securities and Exchange Commission (“SEC”); Scott M.
26
     Andersen (“Andersen”), FINRA’s former regional deputy counsel; and several other FINRA staff
27
     members whose identities are currently unknown. (Andersen and unknown Does are collectively
28

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 1   referred to as the “Individual Defendants.” Individual Defendants and FINRA are collectively
 2
     referred to as “Defendants”).
 3
            2.     John and Justine Hurry (the “Hurrys”) are successful entrepreneurs who own or
 4
 5   operate several businesses in Arizona, Montana, Nevada, Utah, and California. Two of these
 6
     businesses, non-parties Scottsdale Capital Advisors Corporation (“SCA”), and Alpine Securities
 7
     Corporation (“Alpine”), are registered broker-dealers and members of FINRA. (Alpine and SCA
 8
 9   are collectively referred to as the “Member Firms.”) SCA and Alpine are among the largest and
10   most dominant firms in the clearing microcap securities market in the United States. Though
11
     legal, the microcap securities market, often referred to as the over-the-counter (“OTC”) market,
12
13   is disfavored as a “high risk” industry by FINRA and the SEC. The Hurrys’ other businesses
14   include commercial and residential real estate ventures, retail operations, and prospective ventures
15
     in aerospace, defense, technology, professional services, and innovative consumer goods.
16
17          3.     John Hurry’s role in the securities industry extends beyond any ownership interest
18   he has in the Member Firms. In his capacity as an experienced industry leader and as one of a
19
     growing chorus of critics with regard to overreach and abuse by FINRA, John Hurry has sought
20
21   to improve the industry through the creation of a new self-regulated organization, the “Association
22   of Securities Dealers LLC” or “ASD,” a potential competitor to FINRA. ASD’s purpose includes
23
     the laudatory goals of removing barriers to and preserving a free and open market and a national
24
25   market system, while adhering to securities laws.
26          4.     In November of 2012, FINRA and Andersen improperly gained entry to the Hurrys’
27
     office at Investment Services Corporation (“ISC”), a non-member company, and coerced access
28
     to the computers and hard-drives the Hurrys use for their non-securities related business and
                                                 -3-
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 1   personal pursuits (“ISC computers”). Defendants unlawfully accessed and copied the sensitive,
 2
     private, confidential, attorney-client privileged, attorney work product, and proprietary computer
 3
     data, including trade secrets, contained in the ISC computers.
 4
 5          5.     FINRA regularly and explicitly relies upon the potential for a lifetime ban to coerce
 6
     compliance from its members and associated persons. When FINRA and Andersen were sued for
 7
     unlawfully accessing and copying the non-member computer data, Defendants coerced the Hurrys
 8
 9   into dropping the lawsuit under threat of disciplinary action against the Hurrys and/or those
10   associated with the Member Firms.
11
            6.     Dropping the lawsuit did not mollify the Defendants. Instead, Defendants pursued
12
13   an unlawful course of conduct designed to prevent the Hurrys from expanding in the over-the-
14   counter sector, shrink their sphere of influence in the securities industry, and, ultimately, drive
15
     them out of business altogether. Through an orchestrated campaign of harassment, defamatory
16
17   statements, press leaks, and capricious interference with the Hurrys’ business relationships,
18   Defendants have caused and continue to cause unwarranted reputational damage to the Hurrys
19
     and the numerous closely held businesses in which the Hurrys have a direct or indirect interest.
20
21          7.     FINRA’s executive leadership has shown nothing but callous disregard to entreaties
22   to investigate and stop these reputational injuries. FINRA knows or should know that such
23
     reputational injuries inevitably interfere with the target’s ability to stay in business by, among
24
25   other things, causing a loss of essential banking relationships. On information and belief, this is
26   the precise consequence Defendants have pursued through direct and indirect means utilizing
27
     tactics consistent with those relied on by the federal government in its Operation Choke Point, a
28
     highly controversial and unlawful program to drive companies and individuals engaged in legal
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 1   activities out of business through extra-regulatory means. Under the program, government
 2
     officials have pressured banks and other financial institutions to cut off accounts for targeted
 3
     businesses engaged in “high risk” activities. Disfavored industries include gun stores, casinos,
 4
 5   tobacco distributers, short-term lenders, among other legal businesses. Government officials have
 6
     painted the targeted businesses as “high risk,” inflicted reputational harm, and engaged in behind-
 7
     the-scenes, extra-regulatory strong-arm tactics. Officials have created fear among members of the
 8
 9   financial industry—reportedly telling banks they would face increased audits and scrutiny if they
10   maintained relationships with customers in disfavored industries. Reportedly, the operation was
11
     led by Department of Justice officials working in partnership with officials from other agencies
12
13   including the Treasury and the SEC. As alleged in this Second Amended Complaint, FINRA has
14   engaged in extra-regulatory activity targeted at the Hurrys and their businesses using the
15
     Operation Choke Point model:
16
17                    a.   FINRA and the SEC view the legal microcap securities market with disfavor
18   and as high risk;
19
                      b.   FINRA and the Individual Defendants have targeted the Hurrys, as major
20
21   players in the market, to limit their influence and force them out of the sector.
22                    c.   The campaign by FINRA and the Individual Defendants has included the
23
     infliction of reputational harm and the intentional destruction of the Hurrys’ business and financial
24
25   relationships;
26                    d.   The misconduct by FINRA and the Individual Defendants bears no
27
     legitimate relationship to their regulatory functions and authority.
28
     With no other recourse, the Hurrys and several of their businesses now seek relief in this Court.
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 1                                               PARTIES
 2
            8.     Plaintiff John J. Hurry is a natural person and resident of Douglas County, State of
 3
     Nevada.
 4
 5          9.     Plaintiff Justine Hurry is a natural person and resident of Douglas County, State of
 6
     Nevada.
 7
            10.    Plaintiff ISC is an Arizona corporation with its principal place of business in
 8
 9   Scottsdale, Arizona.
10          11.    Plaintiff Hurry Family Revocable Trust d/t/d October 18, 2011, amended November
11
     26, 2012, (“Hurry Family Trust”) is a Nevada trust. John Hurry and Justine Hurry are trustees of
12
13   the Hurry Family Trust.
14          12.    Plaintiff Investment Services Partners LLC is a limited liability company organized
15
     and existing under the laws of the State of Arizona with its principal place of business in
16
17   Scottsdale, Arizona.
18          13.    Plaintiff Scottsdale Capital Advisors Partners LLC is a limited liability company
19
     organized and existing under the laws of the State of Arizona with its principal place of business
20
21   in Scottsdale, Arizona.
22          14.    Plaintiff SCAP I LLC is a limited liability company organized and existing under
23
     the laws of the State of Arizona with its principal place of business in Scottsdale, Arizona.
24
25          15.    Plaintiff SCAP II LLC is a limited liability company organized and existing under
26   the laws of the State of Arizona with its principal place of business in Scottsdale, Arizona.
27
            16.    Plaintiff SCAP III LLC is a limited liability company organized and existing under
28
     the laws of the State of Arizona with its principal place of business in Newport Beach, California.
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 1          17.    Plaintiff SCAP 4 LLC is a limited liability company organized and existing under
 2
     the laws of the State of Arizona with its principal place of business in Arizona.
 3
            18.    Plaintiff SCAP 6 LLC is a limited liability company organized and existing under
 4
 5   the laws of the State of Nevada with its principal place of business in Nevada.
 6
            19.    Plaintiff SCAP 7 LLC is a limited liability company organized and existing under
 7
     the laws of the State of Nevada with its principal place of business in Nevada.
 8
 9          20.    Plaintiff SCAP 8 LLC is a limited liability company organized and existing under
10   the laws of the State of Arizona with its principal place of business in Scottsdale, Arizona.
11
            21.    Plaintiff SCAP 9 LLC is a limited liability company organized and existing under
12
13   the laws of the State of Nevada with its principal place of business in Salt Lake City, Utah.
14          22.    Plaintiff SCAP 10 LLC is a limited liability company organized and existing under
15
     the laws of the State of Nevada with its principal place of business in Nevada.
16
17          23.    Plaintiff BRICFM LLC, d/b/a Corner of Paradise Ice Cream Store, is a limited
18   liability company organized and existing under the laws of the State of California with its principal
19
     place of business in Newport, California.
20
21          24.    Plaintiff CJ3 LLC is a limited liability company organized and existing under the
22   laws of the State of Montana with its principal place of business in Montana.
23
            25.    Plaintiff Association of Securities Dealers LLC is a limited liability company
24
25   organized and existing under the laws of the State of Delaware with its principal place of business
26   in Scottsdale, Arizona.
27
            26.    Plaintiff SCAP 5 LLC is a limited liability company organized and existing under
28
     the laws of the State of Arizona with its principal place of business in Arizona.
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 1          27.    Plaintiff Investment Services Capital LLC is a limited liability company organized
 2
     and existing under the laws of the State of Nevada with its principal place of business in Nevada.
 3
            28.    Plaintiff Investment Services Holdings Corp is a Nevada corporation with its
 4
 5   principal place of business in Nevada.
 6
            29.    Plaintiff NEWCONMGT LLC is a limited liability company organized and existing
 7
     under the laws of the State of Nevada with its principal place of business in Nevada.
 8
 9          30.    Plaintiff ISC LLC is a limited liability company organized and existing under the
10   laws of the State of Alaska with its principal place of business in Alaska.
11
            31.    Plaintiff ISHC LLC is a limited liability company organized and existing under the
12
13   laws of the State of Montana with its principal place of business in Montana.
14          32.    Plaintiff NEWMGT LLC is a limited liability company organized and existing
15
     under the laws of the State of Nevada with its principal place of business in Nevada.
16
17          33.    Plaintiff SCAINTL LLC is a limited liability company organized and existing under
18   the laws of the State of Nevada with its principal place of business in Nevada.
19
            34.    Plaintiff FLJH LLC is a limited liability company organized and existing under the
20
21   laws of the State of Nevada with its principal place of business in Florida.
22          35.    Plaintiff ASD Holding Company LLC is a limited liability company organized and
23
     existing under the laws of the State of Delaware with its principal place of business in Scottsdale,
24
25   Arizona.
26          36.    Plaintiff Hurry Foundation is a non-profit organization (501(c)(3)) organized and
27
     existing under the laws of the State of Nevada, with its principal place of operation in Nevada.
28

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 1          37.    Collectively, the plaintiffs in paragraphs 10 through 36 are the “Business Plaintiffs.”
 2
     Collectively, the Business Plaintiffs and the Hurrys are referred to as Plaintiffs.
 3
            38.    The Hurrys, jointly or separately, have direct or indirect ownership interest in each
 4
 5   of the Business Plaintiffs.
 6
            39.    FINRA is a private, not-for-profit corporation organized and existing under the laws
 7
     of the State of Delaware that operates from Washington D.C. and New York City with regional
 8
 9   offices throughout the United States.
10          40.    FINRA is an SRO registered with the SEC as a national securities association.
11
     FINRA has regulatory power, delegated from Congress through the SEC in the Securities
12
13   Exchange Act of 1934 (the “Exchange Act”), over broker-dealer firms registered under section 15
14   of the Exchange Act and their registered associated persons.
15
            41.    Andersen is a natural person who, on information and belief, is domiciled in the
16
17   State of California. He was a FINRA employee holding the title “Deputy Regional Chief Counsel”
18   until on or about April 6, 2015, when Andersen’s employment abruptly ceased with FINRA.
19
            42.    Plaintiffs do not know the true names of John and/or Jane Does 1 through 10,
20
21   inclusive, and therefore sue them by those fictitious names.
22          43.    John and/or Jane Does 1-10 are employees or agents of FINRA who unlawfully
23
     accessed, inspected, copied, or seized three password protected computers belonging to ISC, and
24
25   the several hard drives within them, and/or unlawfully reviewed, copied, retained, or disseminated
26   information copied from the ISC computers that is beyond FINRA’s jurisdiction, and/or acted in
27
     concert with Andersen to coerce and retaliate against the Hurrys for bringing their lawsuit and/or
28
     engaging in constitutionally protected activity.
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 1          44.    Defendants’ conduct was and remains deceptive, coercive, invasive, unauthorized,
 2
     extra-jurisdictional, and unlawful. The Individual Defendants’ failure to hue to the limits of
 3
     FINRA Procedural Rules and their conspiratorial abuses of authority demonstrate that FINRA had
 4
 5   and has inadequate control over the Individual Defendants. Plaintiffs sue the Individual
 6
     Defendants in their personal capacities to secure complete relief.
 7
            45.    Plaintiffs seek injunctive relief and damages holding FINRA, Andersen, and all
 8
 9   persons or entities acting in concert with them liable for causing irreparable harm to Plaintiffs
10   together with their respective families, their employees past and present, and the several other
11
     persons and entities upon whose privacy, privilege, and proprietary rights and obligations
12
13   Defendants have willfully intruded and interfered by engaging and continuing to engage in the
14   unlawful conduct alleged.
15
            46.    Plaintiffs reserve the right to amend this Complaint to assert, inter alia, additional
16
17   or different claims against FINRA, Andersen, or other members of FINRA staff, including,
18   without limitation, additional or different remedies, or additional or different parties, as its
19
     investigation proceeds.
20
21                                   JURISDICTION AND VENUE
22          47.    The Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,
23
     as Plaintiffs’ CFAA, Bivens, and Civil Rights claims arise under the Constitution, laws, or treaties
24
25   of the United States, and under 28 U.S.C. § 1367, as Plaintiffs’ state law claims are so related to

26   the federal claims they form part of the same case or controversy under Article III of the United
27
     States Constitution.
28

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 1          48.     The Court has general personal jurisdiction over FINRA and the Individual
 2
     Defendants as they conduct business in the State of Arizona on a substantial or continuous and
 3
     systematic basis, and, therefore, are constructively present in the State of Arizona.
 4
 5          49.     The Court also or alternatively has specific (“long-arm”) jurisdiction over FINRA
 6
     and the Individual Defendants, as (a) they purposefully availed themselves of the privilege of
 7
     conducting business in Arizona, (b) Plaintiffs’ claims arise out of or relate to their contacts with
 8
 9   Arizona, and (c) the exercise of jurisdiction over them is reasonable.
10          50.     Venue is proper in this judicial district under 28 U.S.C. §§ 1392(b)(1) and (b)(2), as
11
     FINRA and the Individual Defendants “reside” in the State of Arizona within the meaning of that
12
13   statute, and a substantial part of the events or omissions giving rise to Plaintiffs’ claims against
14   FINRA and the Individual Defendants occurred, or a substantial part of the property that is the
15
     subject of this action is situated, in the State of Arizona.
16
17                                      ALLEGATIONS OF FACT
18                     FINRA’s and the Individual Defendants’ activities are closely
19                                     coordinated with the SEC

20          51.     Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
21
     as if fully set forth herein.
22
            52.     At all times pertinent to this Complaint, FINRA, Andersen, and the unidentified
23
24   FINRA agents were acting under color of federal law.
25
            53.     Upon information and belief, at all times pertinent to this Complaint, FINRA’s and
26
     the Individual Defendants’ examination and other activities related to the Hurrys and the
27
28

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 1   businesses associated with the Hurrys have been closely and directly coordinated with the SEC
 2
     and/or other federal authorities.
 3
            54.    According to at least one press account, the SEC and FINRA are working together
 4
 5   in a purported investigation of the broker-dealers associated with the Hurrys.
 6
            55.    Moreover, the inquiries from the SEC and FINRA to the Hurrys and businesses
 7
     associated with the Hurrys overlap temporally and substantively in a manner that demonstrates
 8
 9   joint activity by the regulators. As one example, described fully below, subpoenas from the SEC
10   have closely followed record requests from FINRA substantially mirroring the type and scope of
11
     records to be produced.
12
13                   FINRA and the Individual Defendants Coerce Access to the ISC
                        Office and Seize, Access, and Copy the ISC Computers
14
15          56.    Scottsdale Partners is one of the Hurrys’ several real estate businesses, which owns

16   two adjacent building complexes in Scottsdale, Arizona—one at 7110 East McDonald Drive
17
     (“Kiva Professional Plaza”), and the other at 7170 East McDonald Drive (“Scottsdale Professional
18
19   Plaza”). Scottsdale Partners is not involved in broker-dealer activities, is not a FINRA “member”

20   or “associated person” under FINRA’s Bylaws or FINRA’s Procedures, and is not subject to
21
     FINRA’s regulatory jurisdiction.
22
23          57.    Scottsdale Partners leases offices in the plazas to numerous business tenants

24   unrelated to the Hurrys or their several companies, including a dental practice, a Chinese medicine
25
     herbalist, an accounting practice, a physical therapy practice, a pain management clinic, a financial
26
27   advisory practice, and a sleep disorders institute (collectively, the “Non-Hurry Business

28   Tenants”).

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 1          58.    In November of 2012, the offices and common areas in Suite 6 of the Scottsdale
 2
     Professional Plaza, which share a common reception area, were reserved for and divided among
 3
     the Hurrys’ several businesses.
 4
 5          59.    Scottsdale Partners leases several of the offices in Suite 6 to Non-Party Scottsdale
 6
     Capital Advisors Corporation (“SCA”), an Arizona corporation operating as a securities broker-
 7
     dealer that John and Justine founded in 2001.
 8
 9          60.    SCA is a FINRA “member” and is subject to FINRA regulations.
10          61.    In November of 2012, Scottsdale Partners also provided offices in Suite 6 to
11
     employees of Scottsdale Partners who perform building maintenance services for the two plazas.
12
13          62.    Scottsdale Partners also leases office space at the Scottsdale Professional Plaza to
14   ISC. Presently, ISC’s offices are located exclusively in Suite 4 of the Scottsdale Professional Plaza
15
     (the “ISC Office Suite”). In November 2012, ISC’s offices were located in space it leased from
16
17   Scottsdale Partners in Suite 6—specifically, the northwest corner office of Suite 6 (the “ISC
18   Corner Office”). (“ISC Office” refers to both the ISC Corner Office and the ISC Office Suite
19
     unless context otherwise demands.) At all times relevant to this Complaint, FINRA was on notice
20
21   of the location of the ISC Office.
22          63.    ISC is neither a FINRA “member” nor a FINRA “associated person” under
23
     FINRA’s By-laws and Enforcement Department Procedures Manual (“FINRA’s Procedures”).
24
25          64.    Scottsdale Partners conducts business out of the ISC Office. At all times relevant to
26   this Complaint, the plaza’s several tenants remit their rent payments and provide landlord notices
27
     to Scottsdale Partners at the ISC Office.
28

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 1          65.    In November 2012, ISC owned and maintained the ISC Computers—three password
 2
     protected computers and the several hard drives within them—located in the ISC Office.
 3
            66.    The ISC Computers were connected to the internet and used in interstate commerce
 4
 5   and communications.
 6
            67.    When working onsite at the Scottsdale Professional Plaza, the Hurrys use the ISC
 7
     Computers in the ISC Office primarily to attend to the management and operations of ISC,
 8
 9   Scottsdale Partners, their other non-member real estate businesses, and new and potential business
10   ventures that arise for them from time to time.
11
            68.    When working onsite at the Scottsdale Professional Plaza, Hurrys also use the ISC
12
13   Computers in the ISC Office for all or most of their charitable endeavors and the personal affairs
14   of their immediate and extended family, including, but not limited to, financial, legal, tax, medical,
15
     educational, and numerous other personal matters, as described in greater detail below.
16
17          69.    When working from one of their homes or otherwise away from Scottsdale
18   Professional Plaza, the Hurrys access the ISC Computers remotely for the same purposes listed in
19
     paragraphs 67 - 68.
20
21          70.    A single gigabyte of electronic data is the equivalent of approximately 894,784
22   pages of plaintext or 4,473 200-page books.
23
            71.    In November 2012, the ISC Computers contained hundreds of gigabytes of
24
25   electronic data that (1) were not SCA’s “books and records” (nor the books and records of any
26   other FINRA member) or (2) were unrelated to SCA, including at least the following categories
27
     of sensitive, private, confidential, privileged, and proprietary information that ISC is duty bound
28
     to protect from disclosure (collectively, the “Extra-Jurisdictional Materials”):
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 1                 a.     confidential and legally protected employment files, medical records, and
 2
     health information of ISC’s and Scottsdale Partners’ employees and their family members
 3
     including, but not limited to, John Davidson, John Lumpkin, John Hurry, Justine Hurry, and
 4
 5   various employees of Corner of Paradise in Newport, California;
 6
                   b.     proprietary, confidential, and sensitive business, employee, and customer
 7
     information for numerous non-member entities, which has competitive value because it is not
 8
 9   generally known or ascertainable by competitors who could use it to their economic advantage,
10   including, but not limited to, information pertaining to the Non-Hurry Business Tenants, and to
11
     the Hurrys’ past, present, and future non-regulated businesses and entrepreneurial commercial
12
13   ventures, such as counterparty information, customer lists, client lists, accounts, business financial
14   information, payroll information, contracts, settlement agreements, non-disclosure agreements,
15
     trade secrets, production methods, formulas, plans, and other intellectual property;
16
17                 c.     private and confidential communications regarding sensitive family and
18   business matters related to the Hurry family and extended family, including the health records of
19
     John and Justine and their four children, the health, military and financial records of Justine’s
20
21   elderly father, for whom Justine holds a power-of-attorney, the account numbers and details of
22   the Hurry’s personal bank accounts and accounts at other financial institutions, and a variety of
23
     other private personal data, including photos;
24
25                 d.      privileged attorney-client communications between John or Justine both in
26   their personal and/or official capacities, on the one hand, and their legal advisors, on the other,
27
     with related attorney work product;
28
                   e.     confidential school records related to the Hurrys’ children;
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 1                 f.     personal estate and financial planning information for the Hurrys, including
 2
     their trust documents, living wills, and the location and disposition of various personal financial
 3
     assets of the couple; and
 4
 5                 g.     business tax returns for various non-member entities and other financial
 6
     information, including bank account numbers, passwords, and general ledgers.
 7
            72.    On the morning of November 12, 2012, staff members representing FINRA’s
 8
 9   Departments    of   Member     Regulation    and   Enforcement     commenced     FINRA      Matter
10   No. 20120327319 with a surprise onsite examination of SCA at its headquarters in Suite 6 of the
11
     Scottsdale Professional Plaza. Staff members represented at least five FINRA offices (Dallas,
12
13   Denver, Los Angeles, New York City, and Rockville) and included Andersen, Christina L.
14   Stanland (“Stanland”), FINRA’s principal regional counsel, Steven C. Bender, Rebecca Kramer,
15
     Cia M. Fiske, Stacie A. Jungling, Christopher Leigh, Nicholas Moor, and Cindy Ponikvar.
16
17          73.    FINRA’s arrival at Suite 6 bore hallmarks of a government raid. Andersen and his
18   examination team arrived unannounced first thing in the morning. They deliberately intimidated
19
     the receptionist and FINRA staff fanned out throughout the offices, bullying SCA personnel and
20
21   interrupting and interfering with the performance of their job duties.
22          74.    Andersen and his examination team commandeered SCA’s conference room and set
23
     up an office of their own within it for four consecutive days, operating around the clock, during
24
25   which time they interfered with the business operations in Suite 6.
26          75.    FINRA staff also roamed the outside common areas and parking lot of Scottsdale
27
     Professional Plaza, disturbing and causing Non-Hurry Business Tenants enough concern to
28

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 1   inquire of SCA personnel and FINRA staff whether the FINRA individuals were law enforcement
 2
     or government agents.
 3
           76.      FINRA did not disclose to SCA or the Hurrys at the time of the onsite examination
 4
 5   its cause for examining SCA in FINRA Matter No. 20120327319.
 6
           77.      In the period between the commencement of the onsite examination of SCA on
 7
     November 12, 2012, and the date of this Second Amended Complaint, FINRA has not charged
 8
 9   SCA or any SCA personnel with wrongdoing in FINRA Matter No. 20120327319.
10         78.      Andersen, FINRA’s Deputy Regional Chief Counsel, led the team of FINRA staff
11
     members that conducted FINRA’s onsite examination of SCA in FINRA Matter
12
13   No. 20120327319.
14         79.      When they arrived at SCA’s headquarters, Andersen or a member of his team
15
     presented SCA’s chief compliance officer with a Procedural Rule 8210 Request (the “8210
16
17   Request”) and related correspondence addressed to John solely in his purported capacity as
18   “president” of SCA.
19
           80.      FINRA issued no separate FINRA Rule 8210 request to John, Justine, or any other
20
21   “associated person” of SCA in his or her personal capacity relating to FINRA Matter No.
22   20120327319.
23
           81.      Both Justine and John were under considerable emotional strain at the time of the
24
25   onsite examination. Justine had recently been diagnosed with a life-threatening brain aneurysm.
26   She was scheduled to undergo surgery on January 17, 2013, to remove it. Nobody knew or could
27
     have known whether or not the surgery would succeed. John, Justine, and their four children were
28
     traumatized.
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 1          82.    Because Justine’s imminent surgery was to be followed by at least ten weeks of
 2
     convalescence, John was preparing to single-handedly undertake the post-operative care of
 3
     Justine, their four children, and their several companies and business ventures when FINRA
 4
 5   commenced the onsite examination of SCA.
 6
            83.    Neither John nor Justine was at SCA’s headquarters in Suite 6, or at the ISC Office
 7
     during FINRA’s onsite examination of SCA.
 8
 9          84.    FINRA demanded of SCA in the 8210 Request “immediate access to inspect and
10   copy . . . information in the possession, custody, or control of [SCA] and its subsidiaries, affiliates,
11
     predecessor corporations, principals, employees, and any other affiliated persons.”
12
13          85.    FINRA warned SCA in the 8210 Request that “your failure to provide access to the
14   firm’s books and records requested . . . may result in a disciplinary action …. Sanctions that could
15
     be imposed include fines, expulsion and a permanent bar from the industry.”
16
17          86.    Among other items, FINRA demanded in the 8210 Request that SCA produce
18   “[f]orensic images of the hard drives of select firm employees identified onsite by FINRA staff”
19
     (emphasis added), advised SCA that “[u]nder FINRA Rule 8210, you are obligated to respond to
20
21   this request fully, promptly, and without qualification,” and warned SCA that “[a]ny failure on
22   your part to satisfy these obligations could expose you to sanctions, including a permanent bar
23
     from the securities industry.”
24
25          87.    Andersen also provided SCA’s representatives with a letter dated November 12,
26   2012, (the “Privilege Letter”) wherein he expressed that SCA could provide FINRA with a
27
     detailed “privilege log” identifying each electronic record collected by FINRA that SCA claims
28
     is “privileged” (the latter term undefined, but subsequently clarified to embrace private and
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 1   proprietary information unrelated to SCA) and FINRA would “agree to consider those claims and,
 2
     without reviewing the document, to delete or otherwise segregate those documents for which your
 3
     privilege claim seems reasonable.” (Emphasis added).
 4
 5          88.    Andersen asserted in words or substance to SCA representatives on the afternoon of
 6
     November 12, 2012, that FINRA has jurisdiction over the ISC Computers and the power to compel
 7
     unfettered access to those devices in their entirety. ISC is not a FINRA member firm. There is
 8
 9   nothing in FINRA Rule 8210 that authorizes FINRA to demand or seize ISC’s computers and
10   hard drives. Interpreting Rule 8210 as providing such authority exceeds the jurisdictional bounds
11
     set forth for SRO’s in the Securities and Exchange Act of 1934 and violates the Hurrys’ and
12
13   Business Plaintiffs constitutional right to due process.
14          89.    Andersen made the foregoing assertion even though SCA was the only recipient of
15
     FINRA’s 8210 Request, which applies only to the books and records of SCA and despite the fact
16
17   that FINRA has no regulatory jurisdiction over ISC.
18          90.    Andersen demanded in words or substance on the afternoon of November 12, 2012,
19
     that SCA unlock the ISC Office so FINRA staff under his command could enter ISC’s premises,
20
21   seize the ISC Computers, access the ISC Computers, and create “mirror images” of the ISC
22   Computers in their entirety.
23
            91.    Andersen’s demand for access to the ISC Computers in their entirety was improper
24
25   for numerous reasons, including that the ISC Computers were not on SCA’s premises but instead
26   on ISC’s premises, that the ISC Computers do not belong to SCA, and that the ISC Computers
27
     are used predominantly for purposes unrelated to SCA and laden with sensitive, private,
28

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 1   confidential, attorney-client privileged, work product, and/or proprietary information not
 2
     comprising books and records related to SCA, i.e., the Extra-Jurisdictional Materials.
 3
            92.    At the time of his demands, Andersen was informed that, to the extent the ISC
 4
 5   Computers contain any SCA-related material, that material likely comprises emails to or from
 6
     John or Justine at their respective SCA-email addresses, which are preserved in a third-party,
 7
     SEC-approved, cloud-based, verifiable and auditable, electronic data repository maintained by
 8
 9   Smarsh, Inc., which could readily provide a true and correct copy of every non-privileged email
10   to or from John or Justine at their respective SCA-email addresses without prejudicing the privacy,
11
     privilege, and proprietary rights of ISC and the other individuals and entities about whom Extra-
12
13   Jurisdictional Material exists on the ISC Computers.
14          93.    Andersen afforded no serious consideration during the onsite examination to any
15
     representations or alternative proposals regarding the handling of the ISC Computers.
16
17                  FINRA and the Individual Defendants Access the ISC Computers
                                    through Coercion and Deceit
18
19          94.    Andersen told SCA representatives on November 12, 2012, that FINRA would issue

20   “Wells Notices” to several SCA personnel “within the next 15 minutes” if SCA continued to resist
21
     his demand to unlock the ISC Office and allow the FINRA examination team to enter the premises,
22
23   seize the ISC Computers, access the ISC Computers, and create “mirror images” of the ISC

24   Computers in their entirety.
25
            95.    To be “Wells’d” is a reportable event on a registered person’s Form U4 and carries
26
27   a significant stigma in the securities industry.

28

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 1           96.    The stigma associated with “being Wells’d” can be immediate and devastating to
 2
     the respondent’s career, reputation, and livelihood.
 3
             97.    The mere issuance of a Wells Notice to a securities professional with regulatory
 4
 5   compliance duties can make it extraordinarily difficult for the respondent to find another job in
 6
     the securities industry, even if the respondent ultimately is found not to have engaged in the
 7
     alleged misconduct.
 8
 9           98.    It was outside the bounds of FINRA’s authority for Andersen to threaten to serve a
10   Wells Notice on SCA staff members in the next fifteen minutes if they did not unlock the door to
11
     a non-member firm’s office. Andersen’s threat to issue Wells Notices to SCA’s personnel, with
12
13   the instant attendant stigma and risk that those personnel would face a permanent bar from
14   working in the securities industry, was intended to coerce SCA representatives to unlock the ISC
15
     Office and allow the FINRA examination team to access the ISC Computers and, ultimately, had
16
17   just that effect.
18           99.    With Andersen’s threat of imminent Wells Notices for SCA personnel, John and
19
     Justine were presented with a classic Morton’s fork, i.e., as SCA’s founders and indirect owners
20
21   they could abate the immediate peril to the careers, reputations, and livelihoods of SCA employees
22   or, as the founders and indirect owners of ISC, they could continue to shield ISC’s Computers
23
     from intrusion and protect the entities and individuals, including themselves, whose private,
24
25   privileged, and proprietary information is contained in the ISC Computers. They could not do
26   both.
27
             100.   Under the circumstances, Andersen’s “Wells Notice” ultimatum reasonably caused
28
     enormous duress for John and Justine, compounding the severe emotional strain with which they
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 1   were burdened because of Justine’s life-threatening medical condition and her impending surgery
 2
     and convalescence, and overcoming their exercise of free will.
 3
            101.   Ultimately, FINRA staff under Andersen’s command accessed the ISC Office,
 4
 5   seized the ISC Computers, accessed the ISC Computers, and copied the ISC Computers in their
 6
     entirety. FINRA had no right to coerce and demand that SCA grant it access to a non-FINRA
 7
     member firm’s office and the computers and hard drives therein, and FINRA further had no right
 8
 9   to access ISC’s devices and make mirror images of them.
10          102.    Andersen, in undertaking and directing other FINRA staff to undertake the tasks of
11
     seizing, accessing and copying the ISC Computers in their entirety, failed to hue to the limits of
12
13   FINRA Rule 8210.
14          103.    Andersen, in undertaking and directing other FINRA staff to undertake the tasks of
15
     seizing, accessing and copying the ISC Computers in their entirety, violated those provisions of
16
17   FINRA’s procedures that define the nature and scope of FINRA’s jurisdiction and that prevail on
18   FINRA staff to respect FINRA’s jurisdictional boundaries when conducting examinations.
19
            104.   FINRA, in seizing, accessing and copying the ISC Computers in their entirety,
20
21   deprived ISC of the full use of those devices for at least five days.
22          105.   FINRA forced SCA to retain the costly services of a forensic data specialist to
23
     monitor and log all material events pertaining to the time-consuming electronic data extraction
24
25   process to assess the safe handling of the devices and integrity of the data within.
26          106.   Neither John, Justine, nor any agent or representative of SCA or ISC ever authorized
27
     FINRA to review any of the Extra-Jurisdictional Materials. Regulatory counsel for SCA objected
28
     to the seizing and copying of the ISC Computers and demanded that FINRA not review any of
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 1   the electronic information it copied from the ISC Computers using any procedure that failed to
 2
     protect the Extra-Jurisdictional Materials from review or dissemination.
 3
               107.   FINRA, in seizing, accessing, and copying the ISC Computers in their entirety,
 4
 5   knowingly and willfully arrogated to itself, at Andersen’s direction, and over strenuous objections,
 6
     the hundreds of gigabytes of Extra-Jurisdictional Material believed to exist on those devices.
 7
                        FINRA and the Individual Defendants Refuse to Protect the
 8
                       Extra-Jurisdictional Materials from Review and Dissemination
 9
               108.   Continuing to ignore the fact that the ISC Computers belonged to ISC, FINRA,
10
11   Andersen, and Stanland initially required that SCA provide a “privilege log” of all electronic

12   information on the ISC Computers—copies of which FINRA now had in its possession.
13
               109.   It is impractical, ineffective, and punitive for FINRA to require a small broker-
14
15   dealer’s attorneys to parse as much as two terabytes of electronic data, the equivalent of nearly

16   1.8 billion pages of plaintext, from a non-member’s computers to identify and log every piece of
17
     digital information that is privileged, irrelevant, or both, when such privileged and/or irrelevant
18
19   digital information is anticipated to constitute the majority of that electronic data. Indeed, the

20   Hurrys expended hundreds of thousands of dollars just to collect and track the seized and copied
21
     drives.
22
23             110.   Despite the representation in the Privilege Letter that FINRA would consider

24   “privilege” claims “without reviewing the document” and would “delete or otherwise segregate”
25
     those documents—Andersen responded to SCA’s regulatory counsel’s written request that the
26
27   Extra-Jurisdictional Materials be returned by stating that FINRA could not agree to return or

28   destroy any such data because the data purportedly cannot be disaggregated and also stated that,

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 1   if Andersen disagreed with SCA’s claim of “privilege” on any document, a FINRA staff member
 2
     would review that document and decide whether, in the FINRA staff member’s view, the
 3
     “privilege” claim is warranted.
 4
 5          111.   Upon information and belief, FINRA commonly uses a method to identify
 6
     potentially attorney-client privileged documents where a search is run for materials containing the
 7
     names of attorneys provided by the member, those materials are then segregated and copies
 8
 9   provided to the member’s attorney for preparation of a privilege log on those documents.
10          112.   As John and Justine prepared for her brain surgery, it became evident that the
11
     “privilege log” approach was unworkable.
12
13          113.   FINRA agreed to allow SCA to submit a list of “search terms” beyond attorney
14   names which, if used in electronic searches of FINRA’s mirror image copies of the ISC
15
     Computers, would yield Extra-Jurisdictional Material.
16
17          114.   Under this method, FINRA would run searches of FINRA’s mirror image copies of
18   the ISC Computers using the off-limits search terms, provide SCA with some unspecified way to
19
     identify the specific electronic data those search terms identified, require SCA to perform a
20
21   “privilege” review of that enormous universe of electronic data, and require SCA to provide
22   FINRA with a “privilege” log identifying the basis of each of its “privilege” objections to each
23
     item of digitized information in that universe.
24
25          115.   The “search terms” method and associated review protocol is unworkable to protect
26   the Extra-Jurisdictional Material from review, dissemination, or disclosure.
27
28

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 1          116.   To craft a list of search terms that would provide a reasonable measure of assurance
 2
     that all of the Extra-Jurisdictional Material is excluded from FINRA’s review is unduly
 3
     burdensome and entirely impractical, if not impossible.
 4
 5          117.   The review protocol wherein a FINRA staff member determines the validity of
 6
     privilege claims impinges on regulatory counsels’ legal and ethical responsibilities to identify and
 7
     shield attorney-client privileged data and work product from disclosure.
 8
 9          118.   The more sensible, practical, and efficient approach to dealing with the ISC
10   Computers is for FINRA to place its copies of the ISC Computers in the custody of a mutually-
11
     acceptable, neutral, third-party forensic computer specialist to extract any SCA books and records
12
13   relevant to the undisclosed purpose of FINRA’s examination of SCA without prejudicing the
14   privacy, privilege, and proprietary rights of those individuals and non-member entities about
15
     whom Extra-Jurisdictional Material exists on the ISC Computers.
16
17          119.   SCA, in reaction to further demands and threats by FINRA, and in good faith,
18   provided FINRA with a list of search terms that SCA surmised would shield—at least initially—
19
     significant privileged and Extra-Jurisdictional Material.
20
21          120.   FINRA rejected the vast majority of the search terms that SCA proposed to yield
22   potentially privileged documents, including such terms as “attorney,” “lawyer,” “counsel,”
23
     “counselor,” “confidential,” “immunity,” “litigation,” “memorandum,” “analysis,” “evaluation,”
24
25   “advice,” “court,” “arbitration,” “lawsuit,” “action,” “case,” “precedent,” “claim,” “defense,”
26   “object,” “objection,” “motion,” “complaint,” “pleading,” “discovery,” “civil procedure,”
27
     “judge,” “arbitrator,” “adversary,” “opposing counsel,” “confidentiality agreement,” “NDA,”
28
     “release,” and “non-disclosure agreement.”
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 1          121.   FINRA also rejected the vast majority of the search terms that SCA proposed to
 2
     yield Extra-Jurisdictional Material, including the terms in the preceding paragraph, the names of
 3
     the Hurrys’ non-member entities, and such terms as “University of San Francisco,” “Stanford
 4
 5   Medical,” “Phoenix Childrens Hospital,” “Veteran’s Association,” “Accountant,” “Apartment,”
 6
     “Beneficiary,”   “Bicycle,”     “Bookkeeper,”   “Building,”    “Brain,”   “Brother,”   “Charity,”
 7
     “Charitable,” “Child,” “Children,” “Church,” “Dad,” “Doctor,” “Enjoin,” “Executor,” “Father,”
 8
 9   “Grade,” “Grandma,” “Grandmother,” “Grandpa,” “Grandfather,” “Guardian,” “Healthcare,”
10   “Home,” “Ice cream,” “Ill,” “Illness,” “Infection,” “IRA,” “IRS,” “Landlord,” “Lease,”
11
     “Military,” “Mom,” “Mortgage,” “Mother,” “Philanthropy,” “Revocable Trust,” “Retirement,”
12
13   “School,” “Script,” “Sick,” “Sister,” “Social Security,” “SSN,” “Surgery,” “Teacher,” “Tenant,”
14   “Title,” “Treatment,” “Trip,” “Trustee,” “Vacation,” and “Veteran’s Administration.”
15
            122.   The search terms that FINRA rejected were likely to identify Extra-Jurisdictional
16
17   Material. Highlighting just one example, the search term “ice cream” was intended to exclude
18   electronic data pertaining to Plaintiff Corner of Paradise, the Hurrys’ non-member ice cream shop
19
     in Newport Beach, California.
20
21          123.   Neither FINRA, Andersen, nor Stanland had or has any intention of shielding the
22   Extra-Jurisdictional Materials from review by FINRA staff.
23
            124.   Neither FINRA nor Andersen had or has any intention of not distributing or sharing,
24
25   or not causing or allowing the Extra-Jurisdictional Materials to be distributed or shared, with
26   government agencies. FINRA’s mere act of searching the copies of the ISC Computers could
27
     permanently impair significant constitutional protections, including Fourth Amendment
28
     protections, to which the Hurrys and Business Plaintiffs are otherwise entitled.
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 1          125.   Neither the Hurrys nor the Business Plaintiffs had or have any desire or intention of
 2
     interfering with FINRA’s legitimate examination of its members. To the contrary, the Hurrys and
 3
     the Business Plaintiffs have cooperated with several requests by FINRA.
 4
 5          126.   ISC even offered to search for and produce from ISC’s computers and hard drives
 6
     any non-privileged SCA books and records related to the undisclosed purpose of FINRA’s
 7
     examination of SCA, a process that should satisfy any legitimate objective of FINRA’s SCA
 8
 9   examination without prejudicing the privacy, privilege, and proprietary interests of ISC and other
10   individuals and non-member entities.
11
            127.    ISC also offered to share with FINRA the expense of having the ISC Computers
12
13   placed in the custody of a mutually-acceptable, third-party, neutral forensic computer specialist
14   so any non-privileged SCA books and records related to the undisclosed purpose of FINRA’s
15
     examination of SCA can be isolated for production. The latter proposal likewise would satisfy any
16
17   legitimate objective of FINRA’s examination of SCA without prejudicing the privacy, privilege,
18   and proprietary interests of individuals and non-member entities
19
            128.   FINRA rejected the aforementioned proposals.
20
21          129.   As a direct and proximate result of FINRA’s and the Individual Defendants’ actions,
22   the Plaintiffs have been and continue to be irreparably injured in that FINRA coercively,
23
     deceitfully, and in violation of its jurisdictional boundaries and federal and state law (a) seized the
24
25   ISC Computers on ISC’s premises, (b) accessed the ISC Computers, (c) copied the ISC Computers
26   in their entirety, and (d) refused thereafter to return or destroy the Extra-Jurisdictional Material
27
     they copied from the ISC Computers.
28

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 1          130.   FINRA, Andersen, Stanland, and the Individual Defendants have no independent
 2
     basis or authority to retain the Extra-Jurisdictional Materials.
 3
            131.   As a direct and proximate result of FINRA’s, Andersen’s, Stanland’s, and the
 4
 5   Individual Defendants’ actions, Plaintiffs have been and continue to be irreparably injured by the
 6
     imposition of a punitive, unduly burdensome, vexatious, ineffective, and impracticable electronic
 7
     data review process whereby FINRA ultimately reserves the “right” unilaterally to decide whether
 8
 9   to review Extra-Jurisdictional Materials.
10          132.   As a direct and proximate result of Defendants’ actions, the Plaintiffs have been and
11
     continue to be irreparably injured by FINRA’s intent to review, retain, and disclose to government
12
13   agencies the Extra-Jurisdictional Materials, in blatant violation of privacy, privilege, and
14   proprietary rights of the Hurrys, ISC, and the individuals and entities about whom electronic data
15
     exists on FINRA’s copy of the ISC Computers.
16
17            ISC and the Hurrys Demand Destruction, Return, or Escrow of the Copies of
                                       the ISC Computers
18
19          133.   On February 27, 2013, the Hurrys and ISC demanded that FINRA destroy, return,
20   or deposit with a mutually-acceptable third party computer forensic specialist, any copies of the
21
     ISC Computers in FINRA’s possession for purposes of preservation and security.
22
23          134.   On March 1, 2013, FINRA assured ISC and the Hurrys that FINRA had not
24   “accessed the Hurrys’ hard drives, and will not do so until there is an agreement on the data that
25
     may be accessed.” This was consistent with numerous prior communications made to SCA’s
26
27   counsel where FINRA assured them that no review of computer material would take place absent
28   agreement and a mutually acceptable process for resolving disputes.

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 1                    ISC Seeks Court Intervention to Protect the Confidential Data
                              from Disclosure, Review, and Dissemination
 2
 3          135.   On March 8, 2013, ISC filed suit in the U.S. District Court for the District of Arizona

 4   against FINRA and Andersen, alleging that Andersen’s invasion of the ISC Office and seizure
 5
     and copying of the ISC Computers violated the Computer Fraud and Abuse Act, 18 U.S.C. § 1030
 6
 7   et seq., among other claims.

 8          136.   Hopeful that FINRA would be amenable to settling the dispute on mutually
 9
     agreeable terms, the Hurrys refrained from serving the complaint but sent copies both to FINRA
10
11   and to Andersen.

12          137.   In the months that followed, neither FINRA nor Andersen proposed any method for
13
     examining any non-privileged books and records of SCA that might be on the ISC Computers
14
15   without violating the privacy and proprietary interests of non-members.

16          138.   Instead, on information and belief, FINRA, Andersen, and the Individual
17
     Defendants devised a plan to harass and then strong-arm the Hurrys and ISC into dropping their
18
19   lawsuit against FINRA and Andersen.

20                      Defendants Engage in a Pattern of Harassment Meant to
21                  Intimidate, Coerce, and Harm the Hurrys and Business Plaintiffs

22          139.   In the months that followed the seizure and copying of the ISC Computers,
23
     Defendants engaged in a pattern of escalating harassment of the Hurrys and the businesses
24
     associated with the Hurrys designed to intimidate, annoy, coerce, and harm the Hurrys and
25
26   Business Plaintiffs.
27          140.   On or about December 20, 2012, Alpine filed a standard form application with
28
     FINRA for permission to provide retail margin account services on a self-clearing basis and to
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 1   remove the restriction upon the firm that it would have no one other than John Hurry dually
 2
     registered and/or associated with SCA.
 3
            141.    FINRA informed Alpine that it should withdraw the application because it would
 4
 5   never be approved.
 6
            142.    Then FINRA demanded that Alpine provide John Hurry’s personal bank records for
 7
     FINRA’s review and examination as part of the application, allegedly due to a line of credit
 8
 9   between Alpine and John Hurry. On information and belief, the request for personal bank records
10   was nothing more than a pretext to harass the Hurrys’ and further invade their privacy.
11
            143.    In response to the request for bank records, John Hurry produced a “Depository
12
13   Validation” from JP Morgan Chase Bank verifying that the Hurrys’ trust account maintained a
14   minimum of $3,000,000 in collected funds.
15
            144.    Based upon the Depository Validation and other information in FINRA’s possession
16
17   regarding the Hurrys’ financial resources, FINRA knew or should have known that John Hurry
18   had sufficient liquidity to provide contingent funding to Alpine should the firm need to draw on
19
     the line of credit.
20
21          145.    Nonetheless, on or about May 3, 2013, FINRA issued a denial of Alpine’s
22   application to provide retail margin account services on a self-clearing basis.
23
            146.    This denial letter was arbitrary and a pretext to harass the Hurrys, impair their
24
25   businesses and livelihood without due process of law, pressure them into waiving constitutional
26   privacy protections, coerce them to drop their lawsuit against FINRA and Andersen, reduce their
27
     influence in the OTC sector, and, ultimately, drive them out of business.
28

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 1          147.   Even when FINRA ultimately approved Alpine to provide retail margin account
 2
     services on a self-clearing basis, it did so with a margin that was arbitrarily restrictive and largely
 3
     ineffective for the firm’s intended business purposes.
 4
 5          148.   During this same period, the Nevada Secretary of State’s Securities Division issued
 6
     24 subpoenas seeking numerous records from businesses associated with the Hurrys. On
 7
     information and belief, there was no active or pending investigation by the Nevada authorities nor
 8
 9   was there lawful cause to seek the records. Rather, on information and belief, the subpoenas were
10   issued at the prompting of Andersen and/or one of the Individual Defendants. The Securities
11
     Division eventually withdrew the subpoenas.
12
13          149.   Andersen also participated directly in the harassment. On or about June 19, 2013,
14   FINRA and Andersen conducted the first in a series of on-the-record (“OTR”) interviews with
15
     employees and officers of the Hurrys’ companies.
16
17          150.   Neither the interview of June 19, 2013, nor any of the OTR interviews that followed
18   was conducted strictly in furtherance of legitimate examination goals; the interviews were, rather,
19
     designed to harass and cause reputational damage to the Hurrys and their businesses.
20
21          151.   In the course of the OTR interviews, Andersen and Individual Defendants framed
22   their questions to insinuate to the interviewees that John Hurry had been engaging in money
23
     laundering activities or unlawful activities. These false insinuations that John Hurry is or was
24
25   engaged in money laundering, that he or his employees were paid in cash, and that customers were
26   permitted to pay in cash, were all deliberate attempts to cause reputational damage to the Hurrys
27
     and those businesses associated with them.
28

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 1          152.   As a direct and proximate result of these false insinuations that John Hurry is or was
 2
     involved in unlawful activity, at least one senior level officer resigned from a business associated
 3
     with the Hurrys. At least one other senior employee has resigned from a Business Plaintiff as a
 4
 5   result of FINRA’s and the Individual Defendants’ harassing and disparaging conduct.
 6
              FINRA, Andersen, Stanland, and the Individual Defendants Threaten and
 7           Coerce the Hurrys into Abandoning the Lawsuit against FINRA and Andersen
 8          153.   On June 25, 2013, Andersen resurrected his threat to “analyz[e]”—without any
 9
     reasonable method to protect the privacy and propriety interests of non-parties—the information,
10
11   documents, and data contained on the Hurry’s hard drives” “beginning this Friday [June 28, 2013]
12   at noon EDT [9:00 a.m. MST].”
13
            154.   Andersen issued this threat despite that FINRA and ISC had not yet agreed on a
14
15   mutually acceptable process for resolving disputes regarding Extra-Jurisdictional Material and the
16   ISC Computers.
17
            155.   Among the new assertions that Andersen made in his letter was the false assertion
18
19   that the seizure of the ISC Computers was part of an investigation of John Hurry’s outside business
20   activities. This was nothing more than an after-the-fact attempt to justify Andersen’s unlawful
21
     invasion of the ISC Office and confiscation of the ISC Computers.
22
23          156.   FINRA’s Procedural Rule 8210 Request of November 12, 2012, was addressed to
24   John Hurry only in his capacity as president of SCA, not in his personal capacity or in his capacity
25
     as an owner or manager of any outside business.
26
27
28

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 1          157.   Despite seeking disclosure of vast quantities of SCA books and records, FINRA had
 2
     made no demand whatsoever in its Procedural Rule 8210 Request of November 2012 for
 3
     disclosure of records related to the Hurrys’ outside business activities.
 4
 5          158.   SCA employees were not questioned during the OTRs begun in June 2013 regarding
 6
     the Hurrys’ outside business activities.
 7
            159.   On June 26, 2013, in response to Andersen’s renewed threat to harm ISC and the
 8
 9   Hurrys by reviewing and analyzing Extra-Jurisdictional Materials, ISC expressed in writing to
10   FINRA’s outside litigation counsel that it had “no desire to impede FINRA’s legitimate
11
     examination of a member firm” and that “[w]ithout conceding the presence of any such materials
12
13   on the ISC Computers, ISC has never objected, and does not object today, to FINRA reviewing
14   non-privileged SCA books, records, and accounts to the extent ISC and its counsel find them on
15
     the ISC Computers.”
16
17          160.   Despite this renewed invitation to negotiate a resolution that would preserve the
18   privacy and proprietary interests of non-members while acknowledging FINRA’s right to
19
     investigate SCA, FINRA refused to discuss any method for examining non-privileged books and
20
21   records of SCA that might be on the ISC Computers.
22          161.   On June 27, 2013, through its outside counsel, FINRA doubled-down on the
23
     Andersen threat and accused the Hurrys of attempting to “delay and obstruct FINRA’s proper
24
25   regulatory review” by causing ISC to commence its first lawsuit regarding the Extra-Jurisdictional
26   Materials.
27
            162.   FINRA and the Individual Defendants knew or should have known that its
28
     accusations of an improper motive were false and pretextual.
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 1          163.   FINRA, Andersen, and FINRA’s outside counsel made their accusations regarding
 2
     the Hurrys’ purported improper motive in order to intimidate the Hurrys and coerce them not to
 3
     serve their complaint and to abandon their lawsuit.
 4
 5          164.   The Hurrys reasonably understood FINRA’s accusations as a threat to bring
 6
     disciplinary action against them if they allowed ISC to persist in vindicating its rights and the
 7
     rights of others with data on the ISC Computers.
 8
 9          165.   The same day that FINRA falsely accused the Hurrys of attempting to “delay and
10   obstruct FINRA’s proper regulatory review” of John Hurry’s outside business activities, the SEC
11
     issued a subpoena to John Hurry seeking production of electronic and other records.
12
13          166.   Faced with that prospect of having to defend themselves against contrived
14   obstruction charges in an 8210 proceeding and potentially losing their livelihood as a result, and
15
     already feeling the effects of harassment from the multiple quarters, the Hurrys were left with no
16
17   reasonable alternative but to cause ISC to stand down. This did not mean, however, that the
18   Hurrys, ISC, the Business Plaintiffs, or anyone else with information on the ISC Computers
19
     consented to FINRA’s access, examination, or retention of the Extra-Jurisdictional materials in
20
21   FINRA’s possession.
22          167.   As of the filing of this Complaint, Defendants still unreasonably retain the Extra-
23
     Judicial Material, which was secured in excess of their jurisdiction, and is being held by
24
25   Defendants without independent basis or authority to do so.
26
27
28

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 1                  Defendants Embark on a Campaign to Discredit, Intimidate, and
                      Harm the Hurrys While Avoiding Further Scrutiny and the
 2
                                   Requirement of Due Process
 3
            168.   On information and belief, when it was clear that ISC was not going to serve its
 4
 5   lawsuit, Defendants embarked on a campaign to discredit the Hurrys, intimidate them from

 6   pursuing their federal lawsuit, and force them out of the OTC sector, while avoiding the scrutiny
 7
     and due process attendant to formal regulatory action.
 8
 9          169.   On or about September 19, 2013, FINRA conducted an OTR of John Hurry.

10          170.   During the Hurry OTR, John Hurry was asked to disclose the name of the financial
11
     institution in which he conducted his personal banking. He responded in substance that his primary
12
13   personal banking relationship was with Chase, where his trust accounts were established.

14          171.   On or about October 7 and October 18, 2013, FINRA propounded Rule 8210
15
     requests seeking personal and business records from the Hurrys and their non-regulated
16
17   businesses, including bank records, phone records, and flight records.

18          172.   FINRA’s demands for records were unnecessarily overbroad and sought records not
19
     reasonably related to any issue in FINRA’s examination. FINRA’s staff had no evidence or
20
21   grounds to believe that the records they sought contained any information relevant to the subject

22   of FINRA’s examination. The 8210 requests were intended to harass the Hurrys, injure and impair
23
     Hurrys’ businesses, pressure the Hurrys to waive their constitutional privacy protections, retaliate
24
25   against the Hurrys for bringing their lawsuit against FINRA and Andersen, and prevent the Hurrys

26   from reinitiating their lawsuit against FINRA, Andersen, or others.
27
28

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 1          173.   The overbroad and overreaching 8210 requests were also part of a scheme to harass
 2
     the Hurrys into abandoning the OTC sector, part of their lawful business activities, without due
 3
     process of law.
 4
 5          174.   Faced with the threat of further charges of obstruction, the Hurrys provided FINRA
 6
     with hundreds of pages of personal bank records, personal phone records, and flight records.
 7
     FINRA’s request was unduly burdensome, extremely costly and time consuming. Nevertheless,
 8
 9   the Hurrys fully cooperated. The records were redacted to remove personal information pursuant
10   to an agreement with FINRA, marked confidential, and provided to FINRA over the Hurrys’
11
     express objections.
12
13          175.   On or about February 4, 2014, a short time after the Hurrys provided their records
14   in redacted form as per their agreement with FINRA, the SEC issued a subpoena to Pinnacle
15
     Aviation for the very same flight records as well as for communications between the Hurrys and
16
17   the company that manages the airplane. The timing and substance of the subpoena from the SEC
18   establish close coordination between FINRA and the SEC, including on matters that do not
19
     concern FINRA’s regulatory functions. The subpoena invaded the Hurrys’ business and privacy
20
21   interests by exposing information redacted by the Hurrys when responding to FINRA’s 8210
22   request and revealing private and sensitive communications to regulators.
23
             Defendants Leak Non-Public, Confidential, and Misleading Information to the
24                                        Deal Pipeline
25
            176.   On information and belief, in furtherance of their scheme to discredit, harass, and
26
27   injure the Hurrys, Andersen, or the other Individual Defendants, conspired to leak non-public,
28   confidential, and false and misleading information to a reporter for the Deal Pipeline, a financial

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 1   news and information service whose readership includes a range of financial institutions and other
 2
     key audiences in the financial services market. Defendants leaked the information for the specific
 3
     purpose and with the design of causing its publication.
 4
 5          177.   On or about September 17, 2013, Bill Meagher (“Meagher”) of the Deal Pipeline
 6
     wrote the first of several articles using the information leaked by FINRA. Citing “internal
 7
     documents” Meagher obtained from FINRA, Meagher described “a series of reports Finra sent to
 8
 9   the SEC in 2012 and 2013.”
10          178.   The “internal documents” to which Meagher alluded were obtained from FINRA’s
11
     Office of Fraud Detection and Market Intelligence (“OFDI”).
12
13          179.   The “internal documents” to which Meagher alluded made reference to “trading
14   records obtained from U.S.-based broker[] Scottsdale Capital Advisors,” among others.
15
            180.   Meagher’s article disclosed non-public information including the name of an
16
17   individual who opened a trading account with SCA, when the account had been opened, on whose
18   behalf it was opened, and the volume of trading in the account. Meagher identified no source for
19
     these disclosures in his article apart from FINRA.
20
21          181.   On information and belief, Andersen, and FINRA staff members from OFDI, were
22   present for all testimony taken as part of FINRA Matter No. 20120327319.
23
            182.   On December 3, 2013, the Deal Pipeline’s Meagher contacted SCA’s outside
24
25   regulatory counsel, seeking responses from SCA, Alpine, and/or the Hurrys to several questions
26   regarding FINRA’s investigation into trading in a company called Biozoom, among other matters.
27
     Meagher’s inquiries reflected a knowledge of non-public and confidential information, the leaking
28
     of which can be attributed plausibly only to FINRA.
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 1          183.   Meagher requested comments from SCA’s outside regulatory counsel regarding a
 2
     former SCA employee, Tim Scarpino—specifically, comments regarding the termination of his
 3
     employment with SCA, which was known to FINRA investigators but had not been publicly
 4
 5   reported by SCA.
 6
            184.   Meagher also requested comments from SCA’s outside regulatory counsel
 7
     regarding John Hurry’s plans to buy Wilson Davis, a transaction which was known to FINRA, but
 8
 9   had not been publicly reported.
10          185.   Meagher’s questions demonstrated that, at minimum, he had knowledge of
11
     FINRA’s ongoing examination of SCA, and the questions posed by FINRA staff members to SCA
12
13   and its employees. His questions reflected a distinct “prosecutorial” perspective consistent with
14   the tenor of FINRA’s examination. His questions made reference to a full spectrum of details
15
     reflecting FINRA Matter No. 20120327319 and what FINRA had learned regarding SCA’s
16
17   business, internal practices, customers, customer transactions, securities deposits, wire activities,
18   and trading activity. Other than SCA’s in-house and outside regulatory counsel, only Andersen
19
     and the other Individual Defendants who were present at the OTRs would have had knowledge of
20
21   the details reflected in Meagher’s questions.
22          186.   Neither SCA’s outside regulatory counsel nor anyone else associated with SCA,
23
     Alpine, or the Hurrys responded to Meagher’s inquiries. Any calls from Meagher were referred
24
25   to the president and chief counsel of SCA without discussing the matters with Meagher. The
26   president and chief counsel of SCA was unable to identify anyone at SCA or Alpine who provided
27
     the leaks to Meagher.
28

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 1          187.     On December 3, 2013, SCA’s outside regulatory counsel emailed Andersen
 2
     expressing that “SCA is extremely concerned that confidential information has been leaked that
 3
     may be damaging to the firm or its employees” and asking that Andersen “advise as to whether
 4
 5   [FINRA] Staff is aware of this information being provided to the reporter.”
 6
            188.     Andersen never responded to the December 3, 2013, inquiry by SCA’s outside
 7
     regulatory counsel.
 8
 9          189.     On or about December 4, 2013, Brad Bennett, FINRA’s head of enforcement, left a
10   voice mail for SCA’s outside regulatory counsel.
11
            190.     Despite that the September 17, 2013, Deal Pipeline article demonstrated that
12
13   Meagher was provided internal documents from FINRA, Bennett was dismissive of the concerns
14   and suggested that the press leaks “could have come from someone at Scottsdale [Capital
15
     Advisors].”
16
17          191.     Bennett expressed in his December 4 voicemail that he was “confident on our side
18   that we didn’t leak” and declined to respond further, stating that “no one on staff can have anything
19
     more to say about it.”
20
21          192.     On December 6, 2013, just days after the inquiries from Meagher, the Deal Pipeline
22   ran an article by Meagher entitled, “FBI, securities officials investigating Scottsdale Capital,
23
     Alpine Securities, source says.” As his source, Meagher referenced in his December 6 article only
24
25   “a person familiar with those investigations.”
26          193.     The information disclosed in Meagher’s December 6 article was non-public and
27
     confidential.
28

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 1          194.   Meagher’s December 6 article demonstrated knowledge of FINRA’s ongoing
 2
     examination of SCA, Alpine, and the questions FINRA staff members had posed to those
 3
     companies and their employees. His article reflected a distinct “prosecutorial” perspective
 4
 5   consistent with the tenor of FINRA’s examination.
 6
            195.   According to Meagher’s December 6 article, FINRA is “work[ing] with the SEC”
 7
     on investigations involving SCA, Alpine, and the Hurrys.”
 8
 9          196.   Meagher also reported in his December 6, 2013, article that “John Hurry, who
10   controls both Scottsdale and Alpine, is in negotiations to buy Wilson Davis.”
11
            197.   On information and belief, no one associated with the parties to the Wilson Davis
12
13   purchase informed Meagher or anyone else in the media that John Hurry or any entity associated
14   with the Hurrys was acquiring Wilson Davis. The article made clear that the Deal Pipeline did not
15
     receive comments from anyone who was approached by Meagher at SCA.
16
17          198.   Meagher falsely and misleadingly stated in his December 6, 2013, article that the
18   FBI was investigating SCA and Alpine falsely implying that the firms or their principals are
19
     targets of criminal or securities’ investigations.
20
21          199.   On information and belief, SCA is and was not the target of any federal law
22   enforcement investigation and neither are Alpine nor the Hurrys.
23
            200.   Meagher falsely reported in his December 6 article that Biozoom shareholders were
24
25   allowed to trade in violation of SCA policies and were provided special perks. Meagher also
26   falsely implied in his December 6 article that SCA had disregarded “red flags” regarding the
27
     Biozoom trades and that SCA had failed to follow up.
28

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 1          201.   On information and belief, if FINRA conducted any investigation regarding the
 2
     press leaks following the inquiry from SCA’s outside regulatory counsel to Andersen and the
 3
     subsequent voice message from Bennett, the investigation was incomplete and inadequate.
 4
 5          202.   On information and belief, if FINRA took any action to curb or prevent press leaks
 6
     or inappropriate disclosure of confidential or non-public information regarding the Hurrys, their
 7
     businesses, or their customers following the inquiry from SCA’s regulatory counsel to Andersen
 8
 9   and the subsequent voice message from Bennett, the action was incomplete and inadequate.
10          203.   On January 9, 2014, SCA’s chief in-house counsel, wrote the FINRA Office of the
11
     Ombudsman and Robert L.D. Colby, FINRA’s Chief Legal Officer, regarding the information
12
13   leak to Meagher and the Deal Pipeline. The January 9 letter notified FINRA that SCA and its
14   customers have been embarrassed and harmed by the reports and sought a “full investigation” of
15
     the matter by FINRA and the SEC. He also requested an assurance that “FINRA is appropriately
16
17   safeguarding confidential information obtained during its investigations.”
18          204.   On information and belief, if FINRA conducted any investigation regarding the
19
     press leaks following SCA’s January 9, 2014, letter, the investigation was incomplete and
20
21   inadequate.
22          205.   On information and belief, if FINRA took any action to curb or prevent press leaks
23
     or inappropriate disclosure of confidential or non-public information regarding the Hurrys, their
24
25   businesses, or their customers following the January 9, 2014, letter, the action was incomplete and
26   inadequate.
27
            206.   On February 18, 2014, outside counsel for John Hurry spoke with Deb Tarasevich
28
     (Assistant Director of Enforcement) and Jennie Krasner (Senior Counsel) of the SEC. Counsel
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 1   expressed concerns regarding the leaks and the reputational harm they were causing the Hurrys
 2
     and their businesses.
 3
            207.   Tarasevich stated that no one at the SEC was speaking to the press about any
 4
 5   investigations or examinations involving the Hurrys.
 6
            208.   On March 20, 2014, the Deal Pipeline published a Bill Meagher article entitled
 7
     “SEC requests default judgment in $34M Biozoom pump-and-dump case.” The article mentions
 8
 9   information that would only be known to FINRA, SEC, and SCA, including that a FINRA audit
10   of SCA was scheduled for the end of March and that FINRA had made a regulatory request for
11
     the personal notes of SCA employees.
12
13          209.   The March 20, 2014, article repeats the false and misleading statement that the FBI
14   is investigating SCA and Alpine and repeats the false and misleading implication that the firms or
15
     their principals are the targets of criminal or securities’ investigations. The March 20, 2014, article
16
17   further falsely implies that SCA and/or the Hurrys were involved in a “pump-and-dump” scheme
18   with Biozoom.
19
            210.   As the disclosures of non-public and confidential information to Meagher was
20
21   attributable to FINRA, on March 21, 2014, SCA’s in-house counsel again emailed Colby detailing
22   SCA’s concerns about the March 20, 2014, article in the Deal Pipeline. He explained that breach
23
     of confidentiality associated with FINRA’s examination and “the distorted factual portrayal of
24
25   these disclosures has interfered with current and prospective business relationships of SCA.” He
26   demanded that the disclosure of confidential or non-public matters stop immediately.
27
            211.   On March 21, 2014, Colby confirmed to SCA that “FINRA’s policies prohibit
28
     disclosing our audit schedule and regulatory requests to firms.” Colby represented that FINRA’s
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 1   “Ombudsman’s office is actively reviewing whether our staff disclosed any information
 2
     inconsistent with our policies.”
 3
             212.   As of the filing of this Second Amended Complaint, FINRA has not communicated
 4
 5   the result of any Ombudsman’s office review to SCA or the Hurrys.
 6
             213.   On information and belief, FINRA did not conduct a thorough and adequate
 7
     investigation regarding the press leaks and inappropriate disclosures following SCA’s March 21,
 8
 9   2014 email.
10           214.   On information and belief, FINRA did not take action to curb inappropriate leaks or
11
     disclosures of confidential, non-public, and misleading information regarding the Hurrys, their
12
13   businesses, or their customers following the March 21, 2014, email.
14           215.   On April 9, 2014, outside counsel for SCA received a phone call from reporter Bill
15
     Meagher. The reporter informed SCA’s counsel that the Deal Pipeline would be publishing a story
16
17   that would disclose that FINRA AML examiners appeared at the SCA offices in March of 2014
18   and requested account documentation for a number of customer accounts, which he specified by
19
     name.
20
21           216.   On or about April 16, 2014, the Deal Pipeline published an article written by
22   Meagher disclosing an unannounced FINRA examination of SCA. Under FINRA policies,
23
     unannounced examinations of members are non-public and confidential. The article contained
24
25   details regarding the unannounced examination of SCA that could be known only to FINRA and
26   SCA.
27
             217.   On or about April 17, 2014, SCA’s in-house counsel emailed Colby notifying him
28
     of the contact from Meagher, the April 16, 2014, article in the Deal Pipeline, and attesting “no
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 1   one at [SCA] disclosed to the press the [unannounced] visit or the documentation [FINRA
 2
     examiners] requested.” He notified Colby that “FINRA Staff are providing information to this
 3
     reporter on a near real-time basis, with the apparent intent to embarrass and/or financially hurt
 4
 5   [SCA], as well as to expose confidential client information.” He continued that “[t]his behavior,
 6
     if coming from FINRA Staff, is a violation of your own policies and unbecoming of a member
 7
     regulatory organization.” He requested that FINRA “thoroughly investigate this matter, and
 8
 9   respond” to him or SCA’s outside regulatory counsel, “whether anyone on the Staff has in fact
10   violated FINRA policies.”
11
            218.   In response to SCA’s email, on or about April 17, 2014, Colby confirmed that
12
13   “[p]roviding information to the press about exams is unacceptable” and promised that he “will
14   review this situation also.”
15
            219.   On information and belief, FINRA did not conduct an appropriate, thorough, and
16
17   adequate investigation regarding the press leaks and inappropriate disclosures following SCA’s
18   April 17, 2014, email.
19
            220.   On information and belief, FINRA did not take action to curb inappropriate leaks or
20
21   disclosures of confidential, non-public, and misleading information regarding the Hurrys, their
22   businesses, or their customers following the April 17, 2014, email from SCA.
23
           The Leaks to the Deal Pipeline Damage the Hurrys’ Reputation, Harm Customer
24                Relationships, and Force Closure of the Hurrys’ Bank Accounts
25
            221.   On or about February 3, 2014, Morgan Stanley denied an application by Alpine for
26
27   an omnibus account. On information and belief, the Morgan Stanley denial of Alpine’s application
28   was directly and proximately caused by leaked information appearing in the December 6, 2013,

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 1   Deal Pipeline article. Alpine lost at least one major client or prospective client as a direct and
 2
     proximate result of the Morgan Stanley denial of the omnibus account application. The denial has
 3
     injured and impaired Alpine’s ongoing business operations and business expansion.
 4
 5          222.   On or about February 26, 2014, John Hurry was notified by J.P. Morgan Private
 6
     Bank, where he had been a longtime client, that the bank was closing his accounts. The bank
 7
     informed him that based upon a review of its client relationships, it had determined that Mr.
 8
 9   Hurry’s “interests are no longer served by maintaining a relationship with J.P. Morgan Private
10   Bank.” Based upon information and belief, the closure of the Hurrys’ accounts by J.P. Morgan
11
     Private Bank was directly and proximately caused by leaked information appearing the December
12
13   6, 2013, Deal Pipeline article.
14          223.   The closure of the J.P. Morgan Private Bank accounts impaired numerous
15
     prospective and existing business transactions and relationships for the Hurrys.
16
17          224.   On or about May 19, 2014, Chase Bank notified the Hurrys that it was closing all
18   accounts associated with the Hurrys and their businesses. Upon information and belief, the closure
19
     of the Hurrys’ accounts by Chase Bank was directly and proximately caused by Defendants’
20
21   actions including wrongful and inappropriate leaks of information to Meagher, which was then
22   published by the Deal Pipeline.
23
            225.   The closure of the Chase Bank accounts, including accounts for Plaintiff ISC, which
24
25   provides administrative and legal services to the Hurrys’ other businesses, and accounts for
26   Plaintiff Corner of Paradise, the Hurrys’ retail ice cream parlor and bicycle rental shop, has and
27
     will directly and substantially impair the Hurrys’ business operations.
28

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 1          226.   On or about September 11, 2014, Zions Bank notified Alpine in writing of its intent
 2
     to close accounts associated with Alpine and the Hurrys. Upon information and belief, the closure
 3
     of these accounts by Zions Bank was directly and proximately caused by Defendants’ actions
 4
 5   including wrongful and inappropriate leaks of information to Meagher, which was then published
 6
     by the Deal Pipeline.
 7
            227.   On or about July 16, 2015, the Hurrys were informed that Comerica Bank was
 8
 9   closing their account. These various bank account closures were modeled on tactics used by DOJ,
10   the Treasury Department and the SEC in Operation Choke Point. Indeed, a representative of the
11
     Office of the Comptroller of the Currency directly cautioned Zions Bank against doing business
12
13   with broker-dealers generally, and specifically with the Hurrys’ business Alpine Securities.
14          228.   The closure of the Zions Bank accounts has and will directly and substantially
15
     impair the Hurrys’ business operations.
16
17          229.   On information and belief, other bank accounts for businesses associated with the
18   Hurrys are being negatively impacted in ways similar to the Chase and Zions accounts.
19
            230.   On information and belief, other banks, as a direct and proximate result of the Deal
20
21   Pipeline articles, have refused to open accounts for businesses associated with the Hurrys or have
22   announced their intent to terminate their customer relationship with those businesses based on
23
     perceived “reputational risk.”
24
25          231.   As Defendants are well aware, maintaining bank accounts and banking relationships
26   is essential to the Hurrys’ livelihood and to the viability of each of the Business Plaintiffs and
27
     other businesses with which the Hurrys are affiliated. Unless Defendants’ unlawful and tortious
28
     conduct is stopped, it is likely that the Hurrys will be unable to pursue their entrepreneurial activity
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 1   and the Business Plaintiffs will be forced to shut down. At a minimum, the Hurrys will be
 2
     effectively barred from doing business in the securities industry despite no formal sanction from
 3
     FINRA or the SEC dictating that result.
 4
 5          FINRA Wrongfully Interferes with Plaintiff WD Clearing’s Acquisition of the Broker-
                      Dealer, Wilson Davis & Co. citing the Deal Pipeline Article
 6
 7          232.   The harm from the Deal Pipeline articles has not been limited to third parties.
 8   FINRA, itself, has cited one of the Deal Pipeline articles as a pretext for denying the Hurrys the
 9
     right to purchase an interest in broker-dealer Wilson Davis & Co.
10
11          233.   On April 30, 2013, John Hurry entered into a Financing Agreement with Wilson-
12   Davis & Co., Inc. (“Wilson Davis”), a closely held Utah corporation and securities broker/dealer
13
     headquartered in Salt Lake City, and its shareholders (“Wilson Davis Shareholders”).
14
15          234.   Pursuant to the Financing Agreement, John Hurry lent to Wilson Davis the sum of
16   four million dollars in exchange for (i) a Senior Promissory Note in the principal amount of four
17
     million dollars and (ii) an option to purchase one hundred percent of the issued and outstanding
18
19   equity interests of Wilson Davis (the “Wilson Davis Option”).
20          235.   Absent the loan from the Hurrys, Wilson Davis likely would have ceased operating
21
     as a going concern. FINRA received contemporaneous notice of the Financing Agreement and the
22
23   Wilson Davis Option.
24          236.   On or about September 16, 2013, John Hurry assigned the Wilson Davis Option to
25
     WD Clearing, LLC, a company he formed and controlled, and to various independently controlled
26
27   trusts formed to acquire ownership interest in Wilson Davis (collectively, the “Wilson Davis
28   Buyers”).

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 1         237.   On or about September 16, 2013, the Wilson Davis Buyers each exercised their
 2
     respective rights under the Wilson Davis Option.
 3
           238.   On or about December 2, 2013, the Wilson Davis Buyers entered into a Securities
 4
 5   Purchase Agreement (“Wilson Davis Purchase Agreement”) with Wilson Davis and the Wilson
 6
     Davis Shareholders to effectuate the transactions contemplated by the exercise of the Wilson
 7
     Davis Option. Under the Wilson Davis Purchase Agreement, the Wilson Davis Buyers agreed to
 8
 9   buy, and the Wilson Davis Shareholders agreed to sell, one hundred percent ownership interest in
10   Wilson Davis. The parties to the transaction agreed that it would close on “the seventh business
11
     day of the first month subsequent to the passage of at least 30 days following the filing of a
12
13   ‘substantially complete’ [Continuing Membership Application]” with FINRA.
14         239.   As of February 24, 2014, FINRA had received a “substantially complete”
15
     Continuing Membership Application requesting approval of the change in Wilson Davis’s firm
16
17   ownership.
18         240.   Despite receiving a substantially complete application, FINRA did not approve the
19
     change in ownership. Rather, FINRA, acting through agents Leyna Goro, Kathy Gurczynski,
20
21   Joseph Sheirer, Domingo Diaz, and Jennifer Danby, imposed unjustified, arbitrary, and pretextual
22   requirements upon the Wilson Davis Buyers and—in violation of its own rules—unlawfully
23
     directed Wilson Davis not to close the transaction with the Wilson Davis Buyers.
24
25         241.   Although FINRA requires advance notice in the form of a change in ownership, it
26   does not require prior approval. NASD Rule 1017(c)(1) states that “[a] member may effect a
27
     change in ownership or control prior to the conclusion of the proceeding, but the Department may
28
     place new interim restrictions on the member based on the standards in Rule 1014, pending final
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 1   Department action.” As FINRA advises in its Continuing Membership Guide, “[i]n the event of a
 2
     denial, lapse or withdrawal of the application, the new owners (if the transaction has been
 3
     consummated) may not conduct business.”
 4
 5          242.   On February 25, 2014, FINRA purported to impose “interim restrictions”
 6
     prohibiting Wilson Davis from:
 7
        • “Effecting any portion of the . . . ownership change transaction, including unapproved
 8
 9          individuals or entities acting in any capacity that would suggests that they are approved
10
            direct and/or indirect owners of the Firm”
11
        • “Permitting any trustee, grantor, or beneficiary of the trusts – including, but not limited to,
12
13          Mr. Hurry – to act in any principal, supervisory or control capacity.”
14
            243.   According to FINRA, the interim restrictions on Wilson Davis “are based upon the
15
     fact that the Staff is in the process of reviewing the Firm’s information to determine whether the
16
17   Firm meets all of the Standards in Rule 1014, including, but not limited to, 1014(a)(1), (3), (7)
18
     and (13).”
19
            244.   FINRA justified its interim restrictions by noting specifically that it had concerns
20
21   based on “an article relating to an investigation involving Scottsdale Capital and Alpine Securities,
22
     which are controlled by Mr. Hurry.” On information and belief, the FINRA letter refers to the
23
     December 6, 2013, Deal Pipeline article by Meagher, which is based upon non-public,
24
25   confidential, and misleading information secretly leaked by FINRA or the Individual Defendants.
26
27
28

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 1         245.   As a direct and proximate result of FINRA’s interim restrictions, Wilson Davis
 2
     refused to close the transaction with the Wilson Davis Buyers, resulting in separate litigation by
 3
     the Wilson Davis Buyers seeking to enforce the agreed transaction (“Wilson Davis litigation”).
 4
 5         246.   Moreover, when J.P. Morgan Private Bank terminated its banking relationship with
 6
     the Hurrys, it also closed accounts for the several trusts that comprise the Wilson Davis Buyers.
 7
     These account terminations, which were a direct and proximate result of FINRA’s and the
 8
 9   Individual Defendants’ wrongful conduct, have directly and substantially impaired the Wilson
10   Davis transaction.
11
             The Deal Pipeline Articles and Pretextual Investigation Conducted by FINRA
12             and Individual Defendants Leads to Additional Harm to the Hurrys, the
13                 Business Plaintiffs, and Businesses Associated with the Hurrys
14         247.   As a direct and proximate result of improper and wrongful leaks to Bill Meagher
15
     and their subsequent and calculated publication in the Deal Pipeline articles, John Hurry has had
16
17   prospective investments in businesses across various sectors hampered, delayed, or declined.
18         248.   SCA has been notified by at least one website catering to the OTC investment sector,
19
     where SCA has been a longtime advertiser, that the website will no longer accept SCA’s
20
21   advertisements. Based upon information and belief, the rejection of SCA as an advertiser is the
22   direct and proximate result of the Operation Choke Point-like tactics employed by FINRA,
23
     including the pretextual examination conducted by FINRA and Individual Defendants and the
24
25   improper and wrongful leaks of non-public, confidential, and misleading information targeting
26   the Hurrys and published in the Deal Pipeline.
27
28

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 1          249.   As a direct and proximate result of the inappropriate disclosures to the press and
 2
     FINRA’s failure to investigate and curb these leaks, Plaintiffs have suffered substantial
 3
     reputational harm and injury to existing and prospective business relationships.
 4
 5    Continuing its Pattern of Ongoing Harm to the Hurrys, FINRA Issues Premature Wells
       Notice that Inexplicably Names John Hurry Individually Shortly After He Completes
 6
     Majority of Filings Necessary to Establish Separate Self-Regulatory Organization and at the
 7                         Eleventh Hour Before the Wilson Davis Closing
 8         250.    On August 31, 2014, John Hurry completed the majority of filings with the SEC
 9
     necessary to advance his goal of establishing a separate self-regulated organization named
10
11   “Association of Securities Dealers LLC” or “ASD,” one of the plaintiffs in this action.
12         251.    On the morning of September 12, 2014, the Wilson Davis Buyers amended their
13
     complaint in the Wilson Davis litigation to include claims of securities fraud based on Wilson
14
15   Davis’ conduct related to the underlying transaction.
16         252.    Later that same day, on the afternoon of September 12, 2014, FINRA issued a Wells
17
     notice that named John Hurry individually. The notice was not related to FINRA Matter No.
18
19   20120327319 or any of the facts raised in this Complaint. The Wells notice is the first reportable
20   event against John Hurry under FINRA rules in his more than 20 years in the securities industry.
21
     The agents involved in issuing this Wells notice were Blake Snyder, Surveillance Director; Jason
22
23   Foye, Examination Manager; Eli Renshaw, Regulatory Principal; Laura Leigh Blackston, Senior
24   Regional Counsel; and Aimee Williams-Ramey, Regional Chief Counsel, Enforcement.
25
           253.    The Wells notice that named John Hurry, among others, lacked merit.           Upon
26
27   information and belief, the Wells Notice was a pretext by FINRA to block the Hurry family trust’s
28   purchase the following week of the broker-dealer Wilson Davis & Co. The proximity of the Wells

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 1   Notice on September 12, 2014 and the projected closing date of September 16, 2014 for the sale
 2
     of Wilson Davis strongly suggests the Wells Notice was a last minute tactic by FINRA and the
 3
     Individual Defendants to prevent the sale. Indeed, in a dramatic departure from FINRA procedure,
 4
 5   Defendants issued the Wells notice before collecting documents or deposing John Hurry.
 6
           254.   On September 15, 2014, FINRA agents Domingo Diaz, Jennifer Danby, and Allissa
 7
     Robinson engaged in a conversation with Mark O. Van Wagoner of Wilson Davis, and provided
 8
 9   Mr. Van Wagoner with specific information regarding the Wells notice as to John Hurry,
10   apparently deeming it appropriate to provide more notice to this third-party regarding FINRA’s
11
     concerns than to John Hurry himself.
12
13         255.   During the September 15, 2014, conversation between FINRA agents and a Wilson
14   Davis representative, the FINRA agents specifically requested that Wilson Davis withdraw its
15
     pending application
16
17         256.   On September 17, 2014, Wilson Davis gave into FINRA’s coercive demand and
18   withdrew the pending Continuing Membership Application.
19
           257.   On September 22, 2014, the judge in the Wilson Davis litigation issued an order
20
21   granting a partial summary judgment in that case excusing Wilson Davis’ performance of the
22   transaction agreement with the Wilson Davis Buyers on the basis of FINRA’s interference. The
23
     remaining claims in the Wilson Davis litigation are currently pending discovery. The Wilson
24
25   Davis Buyers are also pursuing SEC review of FINRA’s actions with regard to the Wilson Davis
26   transaction. FINRA has taken the position that the SEC lacks jurisdiction to conduct such review.
27
28

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 1                                       FIRST CAUSE OF ACTION
 2                                   Violation of 18 U.S.C. § 1030 (a)(2)(C)
 3
             258.   Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
 4
     as if fully set forth herein.
 5
 6           259.   The ISC Computers were “protected” under the CFAA.
 7
             260.   Defendants accessed the ISC Computers intentionally.
 8
             261.   Defendants accessed the ISC Computers through coercion and deceit.
 9
10           262.   Defendants accessed the ISC Computers without authorization, or, in the alternative,
11
     exceeded authorized access to them.
12
             263.   As a result of the misconduct alleged herein, Plaintiffs suffered a loss of $5,000 or
13
14   more.
15
             264.   The misconduct alleged herein constitutes violations of 18 U.S.C. § 1030(a)(2)(C).
16
             265.   The misconduct by Defendants bears no legitimate relationship to the regulatory
17
18   functions and authority of FINRA and the Individual Defendants.
19
             266.   No rule or statute under which FINRA operates purports to preempt the CFAA.
20
             267.   Plaintiffs have suffered damage and loss through the cost of responding to the
21
22   offenses, including conducting damage assessments and restoring data, programs, systems and or
23
     information to its condition prior to the offenses.
24
             268.   Unless Defendants are enjoined from violating and continuing to violate 18 U.S.C.
25
26   § 1030(a)(2)(C), Plaintiffs will continue to suffer irreparable injury.
27           269.   Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
28

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 1          270.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
 2
     proven at trial.
 3
                                       SECOND CAUSE OF ACTION
 4
 5                                   Violation of 18 U.S.C. § 1030(a)(5)(C)
 6          271.    Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
 7
     as if fully set forth herein.
 8
 9          272.    The ISC Computers were “protected” under the CFAA.

10          273.    Defendants accessed the ISC Computers intentionally.
11
            274.    Defendants accessed the ISC Computers through coercion and deceit.
12
13          275.    Defendants accessed the ISC Computers without authorization.

14          276.    Defendants caused damage to the ISC Computers.
15
            277.    As a direct and proximate result of Defendants’ unauthorized access of the ISC
16
17   Computers, Plaintiffs suffered a loss of $5,000 or more.

18          278.    The misconduct alleged herein constitutes violations of 18 U.S.C. § 1030(a)(5)(C).
19
            279.    The misconduct by Defendants bears no legitimate relationship to the regulatory
20
21   functions and authority of FINRA and the Individual Defendants.

22          280.    No rule or statute under which FINRA operates purports to preempt the CFAA.
23
            281.    Plaintiffs have suffered damage and loss through the cost of responding to the
24
25   offenses, including conducting damage assessments and restoring data, programs, systems and or

26   information to its condition prior to the offenses.
27
            282.    Unless Defendants are restrained and enjoined from violating and continuing to
28
     violate 18 U.S.C. § 1030(a)(5)(C), Plaintiffs will continue to suffer irreparable injury.
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 1          283.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
 2
            284.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
 3
     proven at trial.
 4
 5                                     THIRD CAUSE OF ACTION
 6                                         Trespass Upon Chattel
 7
            285.    Plaintiffs repeat and incorporate by reference all prior paragraphs of this Complaint
 8
     as if fully set forth herein.
 9
10          286.    Defendants accessed the ISC computers through coercion and deceit.
11
            287.    Defendants dispossessed Plaintiffs of the ISC Computers, including for a substantial
12
     period of time.
13
14          288.    Defendants impaired the ISC Computers.
15
            289.    The misconduct alleged herein constitutes trespass upon chattel.
16
            290.    The misconduct by Defendants bears no legitimate relationship to the regulatory
17
18   functions and authority of FINRA and the Individual Defendants.
19
            291.    As a direct and proximate result of Defendants’ trespass upon chattel, Plaintiffs have
20
     suffered, and continue to suffer, irreparable injury.
21
22          292.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
23
            293.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
24
     proven at trial.
25
26                                   FOURTH CAUSE OF ACTION
27
                                         Intrusion Upon Seclusion
28
            294.    Plaintiffs incorporate by reference all prior paragraphs of this Complaint.

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 1          295.    Defendants, by engaging in the misconduct alleged herein, intruded upon the
 2
     solitude and seclusion of the private affairs and concerns of Plaintiffs and those individuals and
 3
     entities who have private, privileged, and proprietary information in Plaintiffs’ custody.
 4
 5          296.    Defendants’ intrusion was intentional.
 6
            297.    Defendants’ intrusion would be highly offensive to a reasonable person.
 7
            298.    As a direct and proximate result of Defendants’ intrusion upon seclusion, Plaintiffs
 8
 9   have suffered, and continue to suffer, irreparable injury.
10          299.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
11
            300.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
12
13   proven at trial.
14                                     FIFTH CAUSE OF ACTION
15
                                                   Conversion
16
            301.    Plaintiffs repeat and incorporate by reference all prior paragraphs of this Complaint
17
18   as if fully set forth herein.
19
            302.    Defendants have wrongfully and intentionally asserted dominion and control over
20
     the private, sensitive, personal, confidential, privileged, and proprietary information belonging to
21
22   Plaintiffs in a manner that is inconsistent with Plaintiffs’ ownership of the information.
23
            303.    As a direct and proximate result of Defendants’ conversion, Plaintiffs have suffered,
24
     and continue to suffer, irreparable injury.
25
26          304.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
27          305.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
28
     proven at trial.
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 1                                     SIXTH CAUSE OF ACTION
 2                                   Misappropriation of Trade Secrets
 3
            306.    Plaintiffs repeat and incorporate by reference all prior paragraphs of this Complaint
 4
     as if fully set forth herein.
 5
 6          307.    Defendants, in seizing, accessing and copying the ISC Computers in their entirety,
 7
     acquired one or more trade secrets of one or more persons.
 8
            308.    Defendants knew or had reason to know that the trade secrets were acquired by
 9
10   improper means.
11
            309.    As a direct and proximate result of Defendants’ misappropriation of trade secrets,
12
     Plaintiffs have suffered, and continue to suffer, irreparable injury.
13
14          310.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
15
            311.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
16
     proven at trial.
17
18                                   SEVENTH CAUSE OF ACTION
19                                             Prima Facie Tort
20
            312.    Plaintiffs incorporate by reference all prior paragraphs of this Complaint.
21
22          313.    Defendants have intentionally caused injury to Plaintiffs.

23          314.    Defendants’ conduct is culpable and not justifiable under the circumstances.
24
            315.    As a direct and proximate result of misconduct alleged, Plaintiffs have suffered, and
25
     continue to suffer, irreparable injury.
26
27          316.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
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 1          317.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
 2
     proven at trial.
 3
                                      EIGHTH CAUSE OF ACTION
 4
 5                              Violation of Privacy Act - 5 U.S.C. § 552a
 6
            318.    FINRA is an “agency” subject to the Privacy Act, 5 U.S.C. § 552a, as a government
 7
     actor acting under color of law or, in the alternative, as a government contractor under 5 U.S.C.
 8
 9   § 552a(m)(1).
10          319.    Andersen, and the Individual Defendants are employees of an agency and are
11
     subject to the Privacy Act, 5 U.S.C. § 552a, as government actors acting under color of law or, in
12
13   the alternative, pursuant to 5 U.S.C. § 552a(m)(1).
14          320.    Andersen, and the Individual Defendants, by virtue of their employment or official
15
     position, have possession of or access to agency records which contain individually identifiable
16
17   information the disclosure of which is prohibited by the Privacy Act.
18          321.    On information and belief, Andersen, and the Individual Defendants, separately or
19
     in concert willfully disclosed agency records containing individually identifiable information to a
20
21   person or agency not entitled to receive it.
22          322.    As a direct and proximate result of the misconduct alleged, Plaintiffs have suffered
23
     and continue to suffer irreparable injury.
24
25          323.    Plaintiffs have no adequate remedy at law and are entitled to injunctive relief.
26          324.    Plaintiffs are entitled to an award of compensatory damages in an amount to be
27
     proven at trial.
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 1                                     NINTH CAUSE OF ACTION
 2
                                 Defamation and Defamation by Implication
 3
            325.    Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
 4
 5   as if fully set forth herein.
 6
            326.    Defendants conspired to malign, harass, humiliate and injure Plaintiffs by making
 7
     false statements to Meagher of the Deal Pipeline, statements intended for publication in the Deal
 8
 9   Pipeline or for other public dissemination.
10          327.     Defendants falsely stated that John Hurry, Justine Hurry, and/or their businesses
11
     were engaged in money laundering.
12
13          328.    Defendants falsely stated that John Hurry, Justine Hurry, and/or businesses
14   associated with the Hurrys were under investigation by the FBI, and falsely implied they were the
15
     target of criminal investigations.
16
17          329.    Defendants falsely stated that John Hurry, Justine Hurry, and/or businesses
18   associated with the Hurrys were involved in a “pump-and dump” scheme.
19
            330.    Defendants falsely stated that John Hurry, Justine Hurry and/or businesses
20
21   associated with the Hurrys allowed Biozoom shareholders to trade in violation of SCA policies
22   and were provided special perks.
23
            331.    Defendants falsely implied that John Hurry and/or Justine Hurry caused SCA to
24
25   disregard so-called “red flags” regarding the Biozoom trades and failed to follow up.
26          332.    The false and malicious statements are attributable to FINRA and/or the Individual
27
     Defendants.
28

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 1          333.   The Deal Pipeline article dated September 17, 2013 cited “internal documents”
 2
     obtained by Meagher. Those documents could only have originated with FINRA and/or the
 3
     Individual Defendants.
 4
 5          334.   When Meagher contacted SCA on December 3, 2013, neither SCA’s outside
 6
     regulatory counsel nor anyone associated with SCA, Alpine, or the Hurrys responded to
 7
     Meagher’s inquiries.
 8
 9          335.   The Deal Pipeline article dated December 6, 2015 made clear that the Deal Pipeline
10   did not receive comments from anyone associated with SCA approached by Meagher.
11
            336.   The Deal Pipeline article dated March 20, 2014 mentioned information that would
12
13   only be known to FINRA, the SEC, and SCA. The SEC categorically denied disseminating such
14   information to the press.
15
            337.   The Deal Pipeline article dated April 16, 2014 disclosed non-public information
16
17   regarding FINRA’s onsite examination. SCA’s in-house made clear in an inquiry to FINRA that
18   no one at SCA disclosed to the press the unannounced visit or the the documents FINRA
19
     examiners requested.
20
21          338.   Indeed, following internal inquiries by top leadership of SCA, Plaintiffs are satisfied
22   that the leaks either did not or could not originate with SCA, Alpine, the Hurrys, or any other
23
     entity or individual associated with the Hurrys.
24
25          339.   The leaks are attributable to Defendants, who possess rare and intimate knowledge
26   of the non-public and confidential information reflected in Meagher’s damaging articles.
27
            340.   Defendants made and continue to make these statements and omissions knowing
28
     that the statements were and are false; in the alternative, Defendants have acted and continue to
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 1   act in reckless disregard of the truth in making each of these defamatory statements; in the
 2
     alternative, Defendants have been and continue to be negligent in failing to ascertain the truth of
 3
     each of these defamatory statements before publishing them.
 4
 5          341.   Defendants’ defamatory statements were and are published or otherwise
 6
     disseminated with evil motives and malice toward Plaintiffs, were and are intended and designed
 7
     to injure and defame Plaintiffs, and did injure and defame and continue to injure and defame
 8
 9   Plaintiffs.
10          342.   Each defamatory statement, singularly or in combination, has impeached and
11
     continues to impeach the honesty and integrity of Plaintiffs, leaving their reputation severely
12
13   damaged and subjecting them to scorn in the eyes of business associates, current and prospective
14   clients, and the general public.
15
            343.   Some of Defendants’ false and defamatory statements have imputed egregious
16
17   conduct onto John Hurry.
18          344.   Upon information and belief, Defendants continue to make defamatory statements
19
     to third parties in an effort to impair the Hurrys’ business relationships, to force the Hurrys out of
20
21   business, prevent the Hurrys from establishing new and competing businesses, and destroy the
22   Hurrys’ livelihood.
23
            345.   Many of these false and defamatory statements are made in a secretive manner that
24
25   inhibits Plaintiffs’ ability to discover and respond to the sum and substance of the statements until
26   well after they are made.
27
            346.   Nothing in FINRA Rules permits the “leaking” of internal documents.
28

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 1          347.   Defendants’ wrongful conduct bears no legitimate relationship to the regulatory
 2
     functions and authority of FINRA and the Individual Defendants. By reason of the false, libelous,
 3
     and defamatory statements set forth in this Complaint, Plaintiffs have suffered damages and are
 4
 5   entitled to an award of compensatory damages in an amount to be proven at trial.
 6
            348.   Defendants’ wrongful conduct was guided by evil motives and/or by willful or
 7
     wanton disregard of the rights of others, such that Plaintiffs are entitled to punitive damages.
 8
 9                                    TENTH CAUSE OF ACTION
10
             Intentional Interference with Contract Relationship or Business Expectancy
11
            349.   John Hurry and his companies have or had a valid contract with Wilson Davis.
12
13          350.   The Hurrys and Business Plaintiffs also have or had valid contracts with numerous
14   banking institutions, including JP Morgan Private, Comerica, and Chase.
15
            351.   Defendants are and were aware of these contractual relationships.
16
17          352.   Defendants intentionally interfered with the Wilson Davis contract by coercing
18   Wilson Davis into withdrawing its continuing membership application and inducing Wilson Davis
19
     to breach the contract and resist the acquisition.
20
21          353.   Defendants also intentionally interfered with the banking relationships of the Hurrys
22   and Business Plaintiffs, causing the banks to terminate their business relationships with the
23
     Hurrys, Business Plaintiffs, and businesses associated with the Hurrys by knowingly, willfully,
24
25   and intentionally increasing the Hurrys’ “reputational risk” and improperly pressuring banking
26   institutions to terminate or refuse banking relationships with the Hurrys, Business Plaintiffs, and
27
     businesses associated with the Hurrys.
28

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 1           354.   In an effort to force the Hurrys out of the microcap securities business, Defendants
 2
     leaked non-public and confidential information to Meagher for publication in the Deal Pipeline.
 3
             355.   Upon information and belief, the dissemination of the non-public and confidential
 4
 5   information was intended to inflict reputational harm upon the Hurrys and related businesses.
 6
             356.   Upon information and belief, Defendants sought to blemish the Hurrys and related
 7
     businesses so that banks and other financial institutions would be unwilling to commence or
 8
 9   maintain banking relationships.
10           357.   Upon information and belief, the Wells notice issued in September 2014 was further
11
     intended to harm the Hurrys’ relationships with financial institutions by causing reputational
12
13   harm.
14           358.   On July 16, 2015, Comerica Bank terminated its relationship with the Hurrys,
15
     further denying them and related businesses access to critical capital.
16
17           359.   Upon information and belief, this recent blow to the Hurrys underscores the efficacy
18   of Defendants’ campaign to interfere with the Hurrys’ contractual relations as alleged herein.
19
             360.   Defendants’ have modeled their actions on the actions on the controversial and
20
21   unlawful Operation Choke Point, in which government agencies sought to squeeze disfavored but
22   legal companies out of business.
23
             361.   Defendants’ wrongful conduct bears no legitimate relationship to the regulatory
24
25   functions and authority of FINRA and the Individual Defendants.
26           362.   Defendants’ intentional acts and defamatory statements have resulted in a loss of
27
     beneficial economic relationships and actual profits to Plaintiffs.
28

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 1          363.      Plaintiffs have sustained damages as a direct and proximate result of Defendants’
 2
     intentional business interference and are entitled to an award of compensatory damages in an
 3
     amount to be proven at trial.
 4
 5          364.      Defendants’ wrongful conduct was guided by evil motives and/or by willful or
 6
     wanton disregard of the rights of others, such that Plaintiffs are entitled to punitive damages.
 7
                                      ELEVENTH CAUSE OF ACTION
 8
 9                                     Public Disclosure of Private Facts
10          365.      Plaintiffs repeat and incorporate herein by reference all prior allegations of this
11
     Complaint as if fully set forth herein.
12
13          366.      Defendants intentionally and wrongfully disclosed the private affairs and concerns
14   of Plaintiffs.
15
            367.      Defendants’ disclosure of Plaintiffs’ private affairs and concerns is highly offensive
16
17   to Plaintiffs.
18          368.      Defendants’ disclosure of Plaintiffs’ private affairs and concerns would be highly
19
     offensive to a reasonable person.
20
21          369.      Defendants’ disclosure of Plaintiffs private affairs and concerns also is not a matter
22   of legitimate concern to the public.
23
            370.      The wrongful disclosure of Plaintiffs’ private affairs and concerns, for purposes of
24
25   this claim, consists of Defendants’ leaks to Meagher concerning the on-site examination of SCA
26   on November 12, 2014 and related examinations under FINRA Matter no. 20120327319.
27
            371.      Defendants’ misconduct is highly offensive to any reasonable person in that the
28
     publicity Defendants gave to FINRA’s examination of SCA cast a negative and injurious light on
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 1   Plaintiffs with respect investors, financial institutions and other critical audiences and
 2
     relationships.
 3
            372.      FINRA’s examination of SCA is not a matter of legitimate public concern, as
 4
 5   evidenced by FINRA’s own policies. FINRA’s policy is that examinations under FINRA Rule
 6
     8210 are non-public and confidential. Stated differently, the public is not entitled to know.
 7
            373.      Examinations under Rule 8210 are routinely used to gain information regarding
 8
 9   FINRA members or associated persons that are not the recipient of the 8210 Request. In other
10   words, a recipient of an 8210 Request may have done nothing wrong.
11
            374.      As FINRA’s 8210 letter explains, the examination “should not be construed as an
12
13   indication that the Enforcement Department or the Department of Member Regulation or its staff
14   has determined that any violations of federal securities laws or FINRA, NASD, NYSE or MSRB
15
     rules have occurred.”
16
17          375.      After nearly three years, Plaintiffs are not the subject of any regulatory action arising
18   out of FINRA Matter No. 20120327319. Defendants’ disclosure of such examinations, as alleged
19
     in this Complaint, has inflicted irrevocable harm.
20
21          376.      As a direct and proximate result of Defendants’ disclosure of Plaintiffs’ private
22   affairs and concerns, Plaintiffs suffered mental anguish and economic harm.
23
            377.      Plaintiffs have sustained damages as a direct and proximate result of Defendants’
24
25   public disclosure of private facts and are entitled to an award of compensatory damages in an
26   amount to be proven at trial.
27
            378.      Defendants’ wrongful conduct is and was guided by evil motives and/or by willful
28
     or wanton disregard of the rights of others, such that Plaintiffs are entitled to punitive damages.
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 1                                   TWELFTH CAUSE OF ACTION
 2
                                                 False Light
 3
            379.    Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
 4
 5   as if fully set forth herein.
 6
            380.    Defendants intentionally and wrongfully gave publicity to matters concerning
 7
     Plaintiffs that place Plaintiffs before the public in a false light and, thus, wrongfully invaded
 8
 9   Plaintiffs’ privacy.
10          381.    Defendants falsely stated that John Hurry, Justine Hurry, and/or their businesses
11
     were engaged in money laundering.
12
13          382.    Defendants falsely stated that John Hurry, Justine Hurry, and/or businesses
14   associated with the Hurrys were under investigation by the FBI, and falsely implied they were the
15
     target of criminal investigations.
16
17          383.    Defendants falsely stated that John Hurry, Justine Hurry, and/or businesses
18   associated with the Hurrys were involved in a “pump-and dump” scheme.
19
            384.    Defendants falsely stated that John Hurry, Justine Hurry and/or businesses
20
21   associated with the Hurrys allowed Biozoom shareholders to trade in violation of SCA policies
22   and were provided special perks.
23
            385.    Defendants falsely implied that John Hurry and/or Justine Hurry caused SCA to
24
25   disregard so-called “red flags” regarding the Biozoom trades and failed to follow up.
26          386.    The false light in which Plaintiffs have been placed is highly offensive to Plaintiffs
27
     and would be highly offensive to a reasonable person.
28

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 1          387.    Defendants knew of or acted in reckless disregard as to the falsity of the publicized
 2
     matter and the false light in which Plaintiffs would be placed as a result.
 3
            388.    Plaintiffs have sustained damages as a direct and proximate result of Defendants’
 4
 5   giving publicity to matters concerning Plaintiffs that place Plaintiffs before the public in a false
 6
     light and are entitled to an award of compensatory damages in an amount to be proven at trial.
 7
            389.    Defendants’ wrongful conduct is and was guided by evil motives and/or by willful
 8
 9   or wanton disregard of the rights of others, such that Plaintiffs are entitled to punitive damages.
10
                                     THIRTEENTH CAUSE OF ACTION
11
                                Deprivation of Constitutional Rights – Bivens
12
13          390.    Plaintiffs repeat and incorporate by reference all prior allegations of this Complaint
14   as if fully set forth herein.
15
            391.    By wrongfully coercing access to the ISC Computers, subsequently ordering and/or
16
17   personally reviewing the Extra-Jurisdictional Materials, and retaining access to the Extra-
18   Jurisdictional Materials beyond any reasonable period, Andersen and the other Individual
19
     Defendants deprived Plaintiffs of rights secured by the Constitution of the United States, including
20
21   the 1st, 4th, 5th, and 14th Amendments.
22          392.    Defendants Andersen, and the other Individual Defendants, and each of them were
23
     acting under color of federal law when they wrongfully coerced access to the ISC Computers,
24
25   subsequently ordered and/or personally reviewed the Extra-Jurisdictional Materials, and
26   unreasonably retained the Extra-Jurisdictional Materials without any independent authority or
27
     basis to do so.
28

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 1          393.    Acting under color of law, Andersen and Individual Defendants individually and
 2
     personally conspired to coerce Plaintiffs not to serve or pursue their federal lawsuit or otherwise
 3
     protect their proprietary and privacy interests by threatening to bring disciplinary action against
 4
 5   Plaintiffs or their employees if they persisted.
 6
            394.    Plaintiffs have sustained damages as a direct and proximate result of Defendants’
 7
     unconstitutional conduct and are entitled to an award of compensatory damages in an amount to
 8
 9   be proven at trial.
10
                                   FOURTEENTH CAUSE OF ACTION
11
                           Conspiracy to Violate Civil Rights – 42 U.S.C. § 1985(2)
12
13          395.    Defendant Andersen conspired with Individual Defendants and one or more other
14   persons to deter Plaintiffs from prosecuting their original complaint in this Court by intimidation
15
     and threats.
16
17          396.    Andersen and Individual Defendants intentionally accessed information on a
18   protected computer under the CFAA in an effort to intimidate and deter the Hurrys, Plaintiff ISC,
19
     and the Business Plaintiffs from prosecuting their original complaint in this Court.
20
21          397.    Defendant Andersen further conspired with one or more of the Individual
22   Defendants to disclose unlawfully protected information in violation of the Privacy Act and, in so
23
     doing, injured Plaintiffs and impaired Plaintiffs’ property rights and livelihood—all on account of
24
25   Plaintiffs having filed a lawsuit against Andersen and FINRA.
26          398.    Plaintiffs have sustained damages as a direct and proximate result of Defendants’
27
     wrongful conduct and are entitled to an award of compensatory damages in an amount to be
28
     proven at trial.
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 1                                        PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants as
 3
     follows:
 4
 5          A.        For an injunction restraining and enjoining FINRA, Andersen, Individual

 6   Defendants, and all other persons or entities acting in concert with them, including but not limited
 7
     to FINRA’s employees, agents, representatives, subsidiaries, affiliates, and attorneys, from:
 8
 9                    1.    continuing unlawfully to maintain possession of the ISC Computer data in

10   its entirety, including the Extra-Jurisdictional Materials.
11
                      2.    failing to immediately return or certify the destruction of the ISC Computer
12
13   data, including all Extra-Jurisdictional Materials.

14                    3.    making any further review or use of the ISC Computer data, including all
15
     Extra-Jurisdictional Materials.
16
17                    4.    disclosing or distributing the ISC Computer data, including any Extra-

18   Jurisdictional Materials, either in whole or in part to any person or entity other than the Hurrys or
19
     Plaintiff ISC.
20
21
                      5.    further disclosure of information protected under the Privacy Act.
22
            B.        Enjoining Andersen, the Individual Defendants, FINRA, its board officers,
23
24   employees, and agents from implementing, applying, or taking any action whatsoever or applying
25
     informal pressure to banks to encourage them to refuse or terminate business relationships with
26
     the Hurrys, Business Plaintiffs, or any businesses associated with the Hurrys.
27
28          C.        Awarding actual damages in favor of Plaintiffs against Defendants in an amount to


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 1   be determined by the trier of fact.
 2
            D.      Awarding punitive damages in favor of Plaintiffs and against Defendants in an
 3
     amount no less than $50 million.
 4
 5           E.     Awarding Plaintiffs their reasonable costs and attorneys’ fees incurred in bringing
 6
     this action.
 7
            F.      For such further relief the Court deems just and appropriate.
 8
 9
            DATED this 28th day of August, 2015.
10
                                                MANDEL YOUNG PLC
11
12                                              By: /s/ Taylor C. Young
                                                    Robert A. Mandel
13
                                                    Taylor C. Young
14                                                  Peter A. Silverman
                                                    3001 E. Camelback Rd., Suite 140
15
                                                    Phoenix, Arizona 85016
16                                                  Attorneys for Plaintiffs
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 1                                     CERTIFICATE OF SERVICE
 2
            The undersigned certifies that the original of the foregoing was transmitted this 28th day of August
 3
     2015 to the Office of the Clerk of the U.S. District Court using the CM/ECF System, which will
 4
 5   send notification of such filing and transmittal of a Notice of Electronic Filing to all CM/ECF
 6
     registrants for this case.
 7
                                                  George Brandon
 8                                                Gregory A. Davis
 9                                                Gregory S. Schneider
                                                  SQUIRE PATTON BOGGS (US) LLP
10                                                One East Washington Street, Suite 2700
11                                                Phoenix, Arizona 85004
                                                  george.brandon@squirepb.com
12                                                gregory.davis@squirepb.com
13                                                gregory.schneider@squirepb.com
                                                  Attorneys for Defendants
14
15    /s/ Erin Ford Faulhaber
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